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IN THE
UNITED STATES DISTRICT COURT TD
DISTRICT OF WYOMING USS COU AT
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Zacharia C. Cohen,
STEPEAN HARRIS, REERK
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VS, Case No: S-07-0082
(Dist. Ct. No.. CR 16978-B)
Attorney General of the
State of Wyoming,
Wyo. D.O.C. Director
Robert O. Lampert.

PETITION FOR HABEAS CORPUS

Comes now, before this Court, Zacharia C. Cohen, herein, Petitioner, Respectfully
requests under 28 U.S.C.§ 2254 this Court to grant the writ of Habeas Corpus by a

person in State Custody.

Petitioner is challenging the judgment of conviction of the entered in the Seventh
Judicial District Court, in Natrona County, Casper, Wyoming.

Petitioner was sentenced on the 23™ of January, 2007.

Petitioner was sentenced to consecutive Life Without the Possibility of Parole, 13-18
years, and 12 months, all consecutive to an 8-14 year sentence he was serving.
Petitioner was convicted of 6 separate charges: aggravated assault, attempted 1°
degree murder, possession of a weapon with unlawful intent, possession of a
controlled substance, possession of a controlled substance with intent to deliver,
reckless endangerment (misdemeanor).

Petitioner entered a plea of not guilty, and had a jury trial.

Petitioner’s trial counsel denied him the opportunity to participate and testify in his

own defense before and during trial. In the post-conviction hearing petitioner was
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denied the opportunity to be heard and present first hand evidence by the District
court.

An appeal was filed in the Wyoming Supreme Court. Docket number, 78 Wyo. 2008,
191 P.3d 956, 958 (Wyo. 2008). The following issue were raised:

I. Whether there was insufficient evidence to prove Petitioner attempted to
commit first degree homicide when there was no evidence of a substantial step
towards committing first degree homicide.

II. Whether there was insufficient evidence to prove Petitioner committed
aggravated assault as charged by the state since there was no evidence of a
substantial step towards committing aggravated assault.

III. Whether the district court erred when it denied Petitioner’s motion to
suppress evidence seized after an illegal stop.

IV. Whether petitioner received an illegal sentence.

The Wyoming Supreme Court affirmed Petitioners’ conviction on July 14, 2008.
Petitioner was sent out of state without his legal paperwork before the filing of his
direct appeal, for housing. Petitioner then filed a Petition for Post-Conviction relief
while housed in an ouof state prison that had no Wyoming case law and very limited
legal research available. The Seventh Judicial District Court in Natrona County,
Casper Wyoming, received the brief on July 13", 2009. And later, an Amended
Petition for Post-Conviction Relief, (CR-16978-B).

Petitioner had given the Wyoming Supreme Court several opportunities to address
and fix petitioner’s illegal conviction. The Wyoming Supreme Court errored when
they denied the direct appeal, and later the Writ of Review. Petitioner now asks this
Court to fix the illegal conviction. Petitioner did as this District Court asked and gave
the Wyoming Supreme Court yet another opportunity to fix the mistakes it made, but
the state Supreme Court refused to address the issues stating time had run out, even
though this case has been under some type of review. Petitioner now has no state
remedies available to him and this Court has full jurisdiction under all federal habeas

requirements.
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Petitioner now asserts that his state remedies are now totally exhausted and not

decided on the merits. Therefore this Court has complete jurisdiction to address and

fix the numerous constitutional violations.

The following are the ineffective assistance of counsel grounds. which were raised in

the Amended Petition for Post-Conviction Relief and brought before the Wyoming

Supreme Court for review:

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Appellate counsel failed to raise impermissible 404(b) evidence on direct appeal
and trail counsel’s ineffectiveness for failing to have the prejudicial 404(b)
telephone calls excluded.

Appellate Counsel is ineffective for failing to raise trial counsel’s ineffectiveness on
direct appeal. Trial counsel is ineffective for failing to investigate Petitioner’s
methamphetamine detoxification and prominent mental disorders and chemical
imbalances that compelled the injurious phone calls.

Trial counsel was ineffective for failing to investigate Petitioner’s documented
learning disabilities that facilitated the misunderstanding regarding the recording of
the injurious telephone calls. Appellate counsel is ineffective for failing to
investigate and raise on direct appeal the identical issue.

Appellate counsel is ineffective for failure to raise trial counsel’s failure to file a
motion to suppress the privileged spousal communication and jail house calls.
Appellate counsel was ineffective for failing to raise Title III of the Omnibus Crime
Control and Safe Streets Act and illegally seized calls. Trial Counsel was
ineffective for failing to have calls excluded due to Title III.

Appellate and trial counsel were ineffective for failure to raise the United States
Constitution Fifth Amendment and Article 1§ 11 of the Wyoming Constitution
when the State utilized Petitioner’s communications as reliable and truthful
evidence against him.

Appellate Counsel failed to raise ineffective assistance of trial counsel for failing to
motion the court pretrial, or during Voir Dire for a change of venue.

Appellate Counsel failed to raise on Direct Appeal that the Jury had Members that

were bias and predisposed. Trial counsel failed to adequately Voir Dire potential
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Jurors and the District Court’s inadequate Voir Dire rendered the process virtually
meaningless and violated the Wyoming and United States Constitutions.

9) Appellate counsel failed to raise the Brady/Discovery violations by the State. Trial
counsel failed to demand that the State surrender the Crime Lab Report of the
testing performed on the gun.

10) Appellate and trial counsel are ineffective for failing to correctly and completely
argue the insufficient evidence and the duplicity of the charges to convict petitioner
of attempted murder, aggravated assault and possession of a weapon with unlawful
intent.

11) Trial counsel was ineffective for failing to demand the State produce the twelve
pages of discovery. Appellate counsel was ineffective for failing to raise this
discovery violation on direct appeal. (These twelve pages were finally given to
Petitioner After conviction, appeal were final).

12) Appellate counsel is ineffective for failing to raise the unconstitutional search and
seizure of evidence used to convict. Trial counsel is ineffective for failing to have
evidence excluded due to the illegal search of 1434 South Melrose residence.

13) Trial counsel tried but was unsuccessful at impeaching Ms. Trimble based on
fabrication in her testimony. Appellate counsel failed to raise this prosecutorial
misconduct and ineffective Trial counsel on direct appeal.

14) Appellate counsel and Trial counsel failed to investigate and offer the exculpatory
testimony of Luther Myers.

15) Trial counsel and Appellate counsel were ineffective for failing to object to, and
raise on appeal Special Agent Trimble’s prejudicial involvement and influence in
petitioner’s trial.

16) Trial counsel failed to object to the “expert witness” testimony from Ms. Susan
Cerullo, and Appellate counsel failed to raise this on direct appeal, is ineffective
counsel.

17) Appellate counsel and trail counsel was ineffective for failing to object to the State
committing prosecutorial misconduct by inflaming the jury with the term “Bullet

Proof Vest”, opposed to the factual term of a “Fragmentation Jacket”.
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18) Trial counsel failed to object to the alleged gun expert and extremely prejudicial
firearm testimony which inflamed the jury. The failure to object to the repeated
prejudicial testimony was ineffective assistance of counsel, appellate counsel failed
to raise this on direct appeal. The state committed prosecutorial misconduct by this
statement.

19) Both the Supreme Court and the District Court relied on the false facts and perjury
to support their rulings. Appellate counsel is ineffective for failing to raise these
specific facts and argue the additional protections afforded by the Wyoming
Constitution Art.1, 4.

20) Appellate counsel is ineffective for failing to raise the eighth amendment violation
of cruel and unusual punishment for the charging and conviction of the attempted
first degree murder and aggravated assault of Officer Wenberg.

21) Appellate counsel failed to raise the cumulative error effect. Because of the

numerous errors made to obtain the unconstitutional conviction.

13. The Respondent moved to dismiss the petition stating that the claims were procedurally
barred because the issue could have been raised on direct appeal, but were not, or were
not cognizable in post-conviction relief proceedings.

14. The District Court dismissed the claims that did not allege ineffective assistance of
counsel and ordered the respondent to answer the remaining claims.

15. Petitioner moved to amend the post-conviction petition and the Court granted the motion.

16. Petitioner’s amended petition stated the twenty one (21) issues listed above in pages 2-4
at 10.

17. Respondent filed partial summary judgment which was partially granted and there were
six remaining issues. 2,3,8,12,14, and 21.

18. An evidentiary hearing was held on the remaining issues on December 13" 2011. During
the hearing the University of Wyoming law students, (Defender Aid), represented
Petitioner and presented testimony from Martin Cohen, petitioner’s father, Nichole
Collier, trial counsel, Teresa Jacobs-Castano, a substance abuse/detoxification expert, and

Donna Domonkos, appellate counsel. The District Court prohibited petitioner from
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testifying based on the failure of his counsel to list Petitioner as a possible witness during

discovery.

19.On January 9 2012, the District Court denied Petitioner’s Post-Conviction Relief

petition.

20. A Petition for Writ of Review or in the Alternative Petition for Writ of Certiorari was

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filed in the Wyoming Supreme Court. The Wyoming Supreme Court denied the petition.

The defender aid program was the only hep (attorneys) that were willing to take the case

and they presented the following questions in the writ of review to the Wyoming

Supreme Court:

I.

Il.

III.

Whether trial and appellate counsel were effective given their failure to
investigate Mr. Cohen’s Methamphetamine detoxification and mental instabilities
especially given the importance of such information in attacking the statement
which was critical to the State’s evidence of premeditation?

Whether trial counsel mentioning Mr. Cohen’s prior drug conviction during jury
selection and appellate counsel’s failure to raise this unreasonable prejudicial
conduct on appeal was ineffective assistance of counsel?

Whether the District Court abused its discretion in refusing to let Mr. Cohen

testify at the post-conviction evidentiary hearing?

Does the interest of justice require this Court to provide Mr. Cohen with some
appellate review of the District Court dismissal of his post-conviction petition, or
extraordinary relief to ensure that Mr. Cohen due process to effective assistance

of counsel is protected?

Petitioner now requests this United States District Court to address the constitutional

violations and issues stated in the direct appeal, post-conviction relief petition, and the

Petition for Writ of Review or in the Alternative Petition for Writ of Certiorari. The

above issues are exhausted and the abuse of discretion by the state court system needs to

be addressed and petitioner prays this Court will grant the petition for habeas corpus.

Petitioner presents the exhausted issues in order they were presented to the Wyoming

Court system: These were two of three issues presented to the Wyoming Supreme Court

through the public defender in direct appeal;
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I. Whether there was insufficient evidence to prove Petitioner attempted to commit
first degree homicide when there was no evidence of a substantial step towards
committing first degree homicide?

Il. Whether there was insufficient evidence to prove Petitioner committed aggravated
assault as charged by the state since there was no evidence of a substantial step
towards committing aggravated assault.

Petitioner now adds to the information raised in the direct appeal; see appendix labeled
direct appeal.

1. Appellate and trial counsel are ineffective for failing to correctly and completely argue
the insufficient evidence and the duplicity of the charges to convict petitioner of
attempted murder, aggravated assault and possession of a weapon with unlawful intent.

2. Petitioner emphatically maintains that the gun was never maliciously or intentionally
pointed at anybody, and specifically not at law enforcement personnel. The State in its
opening remarks, declared that the gun “‘falls out of petitioner’s hand”. There is no intent,
malice, substantial step, or premeditation, all required for the crime of attempted 1*
degree murder, and aggravated assault. Officer Wenberg was never in any danger of
actual harm, much less being shot.

3. Officer Wenberg testified that he brushed a hard object out of petitioner’s left hand.
Common sense dictates that if a person intends to use a gun in a malicious and
premeditated way then his fingerprints must be on the weapon handle, and his finger
must be prominently on the trigger leaving an indelible fingerprint or forensic signature.
Moreover, if petitioner had in fact intended to use the weapon in a malicious and
premeditated way then petitioner would have had to make a conscious decision to utilize
his dominant right hand, but Officer Wenberg testified that the unknown object he
allegedly forced out was in petitioner’s non-dominant left hand. No evidence was
presented that the gun was pointed at officer Wenberg, or anyone else. The evidence,
testimony of Sgt Trimble, showed the gun was not “pointed” at officer Wenberg or
anyone else. No evidence was presented that petitioner was in “control” of the gun. In
order for a gun to be fired a finger must be on the trigger. Obviously, that is not the case
or the weapon would have abruptly discharged when it was allegedly forced out of

petitioner’s non-dominant left hand.
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4. The State’s weapon expert Officer James Wetzel testified: “that any ordinary adult male or
female of ordinary strength and ability would be able to pull that trigger with the
dominant or non-dominant hand.” (Not once but twice told the jury this). He furthered
this testimony by stating “Yes. A child would be able to pull back — have sufficient
strength to pull back a double action trigger”. (T.T. pg. 701-702).

Defense asked: “Now if someone had their finger on that trigger and its ready to
discharge and if someone is wrestling around, would it be easy to pull that trigger?”

Officer Wetzel: “Yes”.

Defense: “So it’s fair to say that if you have the weapon, you’re wrestling around,
you’re not paying attention to it, and you’re finger is on that trigger, it would most likely
go off; is that fair to say?”

Officer Wetzel: “That’s fair to say.”

Defense: “In fact accidents do happen with these weapons; isn’t that true?”

Officer Wetzel: “Yes.”

5. The State alleged that petitioner had control of the weapon and had a malicious and pre-
meditated intent to harm Officer Wenberg. However, based on Officer Wetzel’s
testimony if two people were wrestling around with a hair trigger weapon, it would have
[irrefutably] discharged. Officer Wenberg claimed that he forced the gun out and away
from petitioner’s hand and body. Common sense dictates that this sudden motion should
have caused the weapon to discharge. In fact, if there was the requisite intent to harm or
kill would have required control of the gun a finger in the proper position to fire the
weapon. The evidence appears indisputable that if the unknown object that was allegedly
forced out of Petitioner’s non-dominant hand was a gun, and there was malicious intent
to use this gun his finger must be prominently on the trigger, and any sudden motion
forcing the alleged gun down and away out of petitioner’s hand, would have certainly
discharged the weapon. No such discharge of the weapon occurred. Simply stated, two
people were wrestling around, in a sudden and extremely confrontational manner and the
dangerous hair trigger weapon never discharged.

6. Additionally, it allegedly took four or five veteran officers and the use of a Tazer/Stun
gun to subdue petitioner and get his arms behind his back to hand cuff. Had there been

intent, and malice, the weapon would have certainly been in petitioner’s hand when
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Officer Wenberg claimed to suddenly and aggressively knock the weapon down and
away in the specific direction it would take to discharged the weapon. If the mistake of
having a finger on the trigger was present when the gun was allegedly knocked loose
from petitioner’s clumsy non-dominant hand, the weapon undoubtedly would have
discharged. This was when officer Wenberg aggressively drug petitioner out of the
vehicle,
(T.T. pg, 716-717)

During cross-examination of the State’s weapon expert:

Defense Counsel: “Now how easy is it to move that safety?”

Officer Wetzel: “It’s fairly easy to move the Safety. There is a clicking motion there.

I mean it takes effort, if you will, to manipulate it and move it. It’s not going to move

on its own.”

Defense Counsel: “Now, if the gun would be — for example, again, if the gun were to

fall on a hard object of some sort, could that safety be moved?”

Officer Wetzel: “Not likely.”

7. However Officer Wetzel admits right after that that yes “specific force” can easily move
the safety. That it is not “completely impossible” for the guns safety to move when
dropped on a hard object if it landed in a specific way. This is exactly the way the
pictures law enforcement took of the weapon show it landed. The handle was down
inside the cup holder with the safety or decocking lever against the hard lip of the cup
holder. This must have been how the safety lever got knocked into the firing position.
(T.T. pg 717-719)

8. Sgt. Trimble is the only officer to testify he saw the gun in petitioner’s hand. Yet, Sgt.
Trimble opted to ignore the deadly weapon he says he saw, and did not secure the gun,
instead, he knowingly left the weapon in the control of the driver, unattended. He did this
in disregard for his own life, the lives of the officers, and others he knew were present.
This total disregard for life and safety is highly unbelievable.

9. Sgt. Trimble testified he ran around the vehicle to assist four (4) veteran officers with
handcuffing petitioner. Sgt. Trimble is a veteran police officer, and the on duty shift
supervisor, yet, he ignores his extensive police training and abandons the gun, to assist

four (4) highly trained and very capable police officers arrest petitioner. The alleged
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immediate threat to the seven or eight lives was the weapon, which Sgt. Trimble makes a
conscious decision to leave in the vehicle with a suspect. This is all highly unlikely, but it
was his actions that day.

Ironically, in a preliminary hearing, officer Wenberg testified in, Sgt. Trimble, and
Officer Lionheart, was not even at the SUV, and did not help subdue petitioner. One
would think Sgt. Trimble’s presence would have been definitive given the alleged
involvement and the pointing of his service weapon inside the vehicle in the direction of
Officer Wenberg and petitioner. Nonetheless, Officer Wenberg testified to only “Officer
Maton, Agent Wetzel, and Officer Reinhart” being present at the SUV for the arrest.
Officer Wenberg’s testimony would have been more accurate closer to the date of the
event. However, Officer Wenberg’s testimony is inconsistent from hearing to hearing.
Officer Wenberg demonstrated in his testimony that he was willing to commit perjury to
assist the State in obtaining this win. (Preliminary Hearing, March14th, 2006, Docket No.
Cr-2006-0570, page 8).

Facts presented demonstrate, Sgt. Trimble never yelled “gun” or declared at the scene to
see the weapon. Coincidently, upon arrival, Officer Reinhart testified that he never heard
Sgt. Trimble declare that had in fact seen a weapon. Sgt. Trimble does testify that he had
his duty weapon drawn and pointed directly at petitioner. But, if this alleged danger was
in fact true and manifested, Sgt. Trimble would have most certainly eliminated the threat
to himself and the other officers by shooting petitioner and he would have been duly
justified in doing so.

More importantly, at the time of arrest, the State and Police that were involved failed to
find any probable cause to charge petitioner with Aggravated Assault or Attempted First
Degree Murder, The first charging information that stemmed from March 3" supports
this fact.

On March 3 Sgt. Trimble’s actions are self evident: he didn’t feel threatened, he never
actually saw the gun, and he behaved accordingly. This clearly explains why Sgt. Trimble
did not yell “GUN”, when he saw it. It also explains why the other officers involved
stated he never declared “gun”, to them either. This would explain why Officer Wenberg

did not recall Sgt. Trimble’s pointing of his service weapon, exemplary help, or presence
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at the scene. Sgt. Trimble’s inculpatory version of events were not known or even needed
until after the dubious phone call made eighteen days later.

The statement utilized to charge and convict the petitioner stated “I was trying to get my
gun cocked to blow the teeth out the back of his fucking head, but I didn’t get a chance to
do that.” There are several problems with this statement and the States gun expert
explained this. He testified that the weapon needed no cocking, and that it takes two (2)
hands to cock this weapon. Petitioner kept one hand in complete view at all times. That
this weapon was “Double Action”, meaning it needed no actual cocking. Only the pulling
of the trigger, or sudden motion down and away from the person holding the weapon.
Clearly, this statement was an attempt to sound cool and tough to the people he was
associated with at that time. Petitioner stated right before this that he had tossed the gun
into the console which clearly makes more sense due to the physical and actual evidence.
The intent, malice, and premeditation elements cannot be formed from inference stacked
on inference of words taken out of context eighteen days after the alleged crimes.

Willfulness, malice, and premeditation must therefore be present and proven by relevant

_evidence exclusively apart from the erratic behavior manifested on the Natrona County

Jail telephones. The State did not prove Petitioner had planned, thought-out, or even tried
to follow through with the alleged attempted murder and aggravated assault.

Petitioner’s conduct indicates that he had clearly distanced himself from the weapon to
avoid the potential felon in possession of a firearm, and petitioner did so prior to the
approach of law-enforcement. Petitioner stated in the same March 18"" phone call that he
had “tossed the gun into the console” of the SUV, and not wanting to sound like he was
weak to his peers, he made up the rest of the erratic statement. In trial, petitioner’s
counsel moved to have the statements excluded that showed Petitioner got rid of the gun
because he could potentially face twenty to thirty years in federal Court. That he needed
to get out of jail before that happened.

The conviction of attempted murder in the first degree, aggravated assault, and
possession of a weapon with unlawful intent must be reversed and relief granted. Not
only is there insufficient evidence and a miscarriage of justice, these charges are

duplicitous.
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A charge is duplicitous if it joins two or more offences in the same count. United States
v. Trammell, 133 F.3d 1343, 1354 ao" Cir. 1998). There are three dangers that could
result from a duplicitous indictment “(1) A jury may convict a defendant without
unanimously agreeing on the same offense; (2) A defendant may be prejudiced in a
subsequent double jeopardy offense; (3) A Court may have difficulty determining the
admissibility of evidence.” Id. (quoting United States v. Wiles 102 F.3d 1043,1061 (10"
Cir. 1996)).

Petitioner’s Appellate and Trial counsel are ineffective for failure to competently
investigate, raise prosecutorial misconduct, raise judicial discretion and protect

petitioners right under the United State and Wyoming Constitutions.

The public defender’s third issue that was presented to the Wyoming Supreme Court is in
the appendix labeled direct appeal:
III. | Whether the district court erred when it denied Petitioner’s motion to

suppress evidence seized after an illegal stop.

Petitioner stated the following in his Amended Petition for Post-Conviction Relief this
issue was raised to the Wyoming Supreme Court on direct appeal therefore is fully

exhausted and this Court has jurisdiction to address;

#18 Both, the Supreme Court, and the District Court relied on the false facts and
perjury to support their rulings. Below is factual in the record proof of such
violation. Appellate counsel is ineffective for failing to raise these specific
facts and argue the additional protections afforded by the Wyoming

Constitution Art.1, 4, in violation of the United States Constitution.

. Appellant counsel was ineffective for the failure to raise this issue under the sovereign

protection provided by the Wyoming constitution. The Wyoming Supreme Court in its
mandate failed to reverse the District Court’s erroneous ruling that denied petitioners
motion to suppress. Both the Wyoming Supreme Court and the District Court relied on

false facts and perjury to support their rulings and abused discretion when they violated
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petitioner’s Federal and State Constitutional rights. The State suborned perjury from
Officer Wenberg and committed Prosecutorial Misconduct.

2. The Wyoming Constitution states; The right of the people to be secure in their persons,
houses, papers and effects against unreasonable searches and seizures shall not be
violated and no warrant shall issue but upon probable cause, supported by affidavit,
particularly describing the place to be searched or the person or thing to be seized. Wyo.
Const. art. 1, 4 constitutes a separate and independent source of protection of the rights of
Wyoming citizens. The Wyoming Constitution provides protection of individual rights
separate and independent from the protection afforded by the United States Constitution.
(See Pierce v. State, 2007 WY 182 (WYO2007).

3. In Cohen v. State, 2008 WY 78, on paragraph (926), the Wyoming Supreme Court
discusses the following misstated facts:

P26 “After reviewing the record on this case, we have no trouble concluding that officer
Wenberg possessed reasonable suspicion justifying the investigatory stop of the SUV.

The record discloses the following facts:”

(1) “Officer Wenberg had been following the events over his police radio and knew there
was a warrant out for Cohen’s arrest;” Officer Wenberg admitted he had no idea who the
man was that crossed the street and he admitted this in preliminary hearing and trial. In
fact officer Wenberg called in the investigatory stop as a normal casual traffic stop like it
was going to be fruitless. Officer Wenberg then approached the SUV alone, in the normal
traffic stop manner, and not the stop of a wanted known felon who had just led police on
a chase and possibly injured a DCI Agent in the process. More importantly, the alleged
bullet proof vest had been found in the Camaro and the possibility of a weapon was
reported to be potentially an issue. Officer Wenberg also testified that the flier stated that
Mr. Cohen liked guns and weapons. Mr. Wenberg own actions clearly demonstrated he
possessed no articulable facts which support he actually suspected Petitioner of being
who the police were looking for. Officer Wenberg never would have approached the
SUV alone, without his weapon drawn, knowing that the person he was looking for liked

guns, weapons, and could be in possession of body armor. The record supports that
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Officer Wenberg has committed perjury on several occasions and his testimony must be

impeached and his credibility impugned.

(2) “Cohen was reported to be on foot in the area where the grid search was being
conducted;” But, Petitioner was located twenty minutes after the suspect was lost, and
looked nothing like the confirmed reports and radio traffic that gave the definitive
physical description of the gray shirt, and bald head. Petitioner was seen wearing a red
sweat shirt and had on a baseball cap. Notably, the grid search Officer Wenberg claimed
to be conducting was even in the wrong direction of the reported flight that the driver was
supposed to be running in. (REFER TO RADIO LOGS. Pg2-3)

(3) “The radio reports indicated that Cohen ran west in the direction of McKinley Street after
abandoning the Camaro;” Officer Wenberg testified that the radio reports indicated that
Cohen ran WEST in the direction of McKinley street after abandoning the Camaro.
However, information from fellow officers including radio traffic stated petitioner ran
south, west was NEVER stated. Officer Wenberg committed perjury when he stated
radio traffic said suspect ran “west” the direction that Petitioner was seen crossing the
street, and officer Wenberg may have done so to show reasonable suspicion that he
obviously never had.(M.H., pg. 10). Clear and convincing evidence in support of this is
the indisputable police radio log which clearly states several times suspect ran south, the
direction of west is never factually stated. Notably, in the Motion to Suppress hearing,
Officer Wenberg was asked to read directly from the radio logs, he still chose to lie.
(Radio log pg.,2-3).

(4) “Officer Wenberg saw a man cross McKinley street heading west about twenty minutes
after Cohen abandoned the Camaro;” The information Mr. Wenberg had at the time was
clearly south not west, again, refer to the indisputable police radio log. Furthermore,
twenty minutes had passed and a great deal of distance can be covered in twenty minutes
time, even the slowest of walkers can cover over a mile of in that amount of time. The
suspect was last seen running south, therefore the reasonable direction and distance

would be much greater then one block, west. Running a person can easily cover the
(5)

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distance of a block in about thirty seconds. Officer Wenberg never stated that Petitioner
looked suspicious or even out of breath from the reported running of the suspect,

therefore reasonable suspicion was never present.

“The male suspect was sighted just a block away from the Camaro;” However, this was
twenty minutes at lunch break (12:20-12:45) in the day time, and this block away, was in
residential housing. Officer Wenberg testified that Cohen came from between two
houses. More importantly, Petitioner was not even close to the clear description given by
police over police radio, therefore this block away is nothing more then coincidence. In

the twenty minutes that had passed the suspect could be anywhere.

“Officer Wenberg saw the suspect coming out from between two houses, not exiting a
residence or other structure;” However, testimony from Doral Waddy stated petitioner
was in her enclosed porch, used her phone to call for a ride. Mr. Virgillio’s cell phone
records and call history confirm Mrs. Waddy’s testimony. Police testimony supports
petitioner called Mr. Virgillio from Mrs. Waddy’s house. Again Officer Wenberg
committed perjury in the Motion to Suppress Hearing to show reasonable suspicion,
which was not present. The phone history the police looked into on Mr. Virgillio phone
showed petitioner called Mr. Virgillio. Testimony shows petitioner was obviously inside
the home where the call was placed from. Mrs. Waddy’s home is set back a little from the
two houses, but is there. Officer Wenberg made it sound as if Petitioner came out of the
bushes between the two houses which is not true. Again, Officer Wenberg commits

perjury to further the states case at every available opportunity.

“The officer knew from experience that this neighborhood had very little pedestrian
traffic;” However on this particular day, several people were in the area, that there is
indisputable evidence that police spoke with them, refer to the radio logs. Specifically,
but not only, Daryl Smith, who was a match to the physical description and was known
by the police to carry weapons and items like the fragmentation vest that was found
inside the vehicle that was parked right in front of his home. Again the Camaro was

parked in front of Daryl Smith’s house. The radio logs show this information was readily
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available to Officer Wenberg. It is rather apparent that officer Wenberg again committed
perjury conceming the facts of march 3™ 2006, he did so to show probable cause, and

reasonable suspicion that he never had.

“Officer Wenberg was somewhat familiar with Cohen’s physical: appearance from his
participation in a drug investigation involving Cohen a few months earlier;’ Officer
Wenberg testified in trial, he did not know the person who crossed the street and
climbed inside the passenger side of the SUV. He further admitted that he was not even
sure Petitioner was in fact Mr. Cohen until he was able to match tattoos at the county jail.
(Enclosed is the surveillance picture Officer Wenberg alleged to have take several
months earlier. Notably, the face in this picture he took is unidentifiable). If Officer
Wenberg actually suspected that petitioner was who he alleged to be familiar with and
could have been who he and the police were looking for; 1) he would not have
approached the vehicle alone without back up, and he would have ordered the occupants
to exit the vehicle at gun point given all the available information and the heightened
awareness, 2) Officer Wenberg, would not have put himself in unnecessary harms way,
3) he would have followed police proto call, and his almost twenty years of experience
and police training, and would havw called the stop in for what it was, a suspect located

stop, not a traffic stop. (M.H., pg., 16).

“The suspect was the “right size and shape” of Cohen, although his clothing was a little
different from the description transmitted earlier over the radio for Cohen;” Petitioner
points out that the “size and shape” the officer was going off of, was wrong, the
description of 5°10”, white male approximately 160lbs. This was not only wrong, but fits
most of the male population in Casper, and even Wyoming. Petitioner was 185-190lbs
when arrested 25-30 lbs is a considerable difference. The clothing reported was
drastically different, and not even close to the description given over the police radio, a
bright red, or orange sweat shirt is totally different from the grey sweatshirt reported by
police over the police radio. Furthermore, police radio traffic was suspect was bald,
however, petitioner was wearing a base ball cap when he crossed the street and the officer

(Wenberg) was unable to see if petitioner had hair or not. Therefore, reasonable suspicion
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was not there, or probable cause. Not only was this right “size and shape” perjury, it was

utilized to show suspicion that was never present.

(10) “The suspect matched the physical description of Cohen contained in a flier posted at
the police station;” First the flier at the police station did not have a picture on it, it only
gave a vague physical description, and this is the white male, 5’10”, 160lbs, and balding.
Notably, petitioner weighed 190lbs when arrested on March 3 2006. The record
contains no evidence if the age was listed on the flier or facial hair. A good portion of the
male population fits this range of 5°10”, 160lbs. This physical description was not only
wrong, but without being able to point to something specific, the officer acted on a hunch
and committed perjury to further the states case and justify his illegal actions. His actions
speak louder then his words, if he truly suspected petitioner was who he was looking for
he would have initially notified dispatch of his find. Information the officer had was that
the suspect had already injured one officer (Agent Norcross), and had just drove past him
aggressively making him concerned for his own safety. Officer Wenberg would not
ignore police procedure and recklessly place himself in harms way and unnecessary
danger. Moreover, this alleged flier was never produced to show Officer Wenberg was in
fact telling the truth. Officer Wenberg admitted he did not even know what Petitioner
looked like even though he allegedly had taken a surveillance picture of Mr. Cohen.
(M.H. pg, 31).

(11) “Officer Wenberg observed the suspect enter the passenger door of the waiting SUV;”
Mr. Wenberg admitted that the waiting SUV with its brake lights on did not trigger any
suspicions, (this was at lunch time and people wait at the side of the road in residential
areas). Officer Wenberg clearly admits he had never seen this person before that crossed
the street and had no idea if the man he seen crossing the street was in fact Mr. Cohen,
whom the police were allegedly looking for. Again, the direction, and description that
was given over the police radio was totally different. The information in the flier was
vague, with no picture, and significantly different then the actual physical traits of the
man Mr. Wenberg observed get into the SUV. Twenty five to thirty pounds is very

significant, especially since Mr. Wenberg claimed in the Motion to Suppress hearing he
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was acquainted with Mr. Cohen and knew exactly what he looked like. But, Wenberg

admitted he had no idea who the man was that crossed the street that day.

. Under the circumstances, it is rather clear Officer Wenberg was acting on nothing more
than a simple “hunch” or guess, when he stopped the SUV. The totality of these factors,
along with rationale inferences, does not support a reasonable suspicion that Cohen, the
person police were searching for, was in fact the passenger in the SUV.

. In order to establish the reasonable suspicion necessary to justify a... Terry or
investigatory stop, “the police officer must be able to point to specific and articulable
facts which, taken together with rational inferences [drawn] from those facts, reasonably
warrant that intrusion.” Olson v. State, 698 P.2d 107,109 (Wyo.1985) (quoting Terry v.
Ohio, 392 U.S. @ 21, 88 S. Ct. @ 1880). Wilson v. State, 874 P.2d @ 220.

. Officer Wenberg, did not, and was not able to point to any specific and articulable facts
which, taken together with rational inferences [drawn] from those facts, reasonably
warrant that intrusion. The Wyoming Supreme Court found articulable facts the police
officer did not point out which is the requirement of Terry, Id.

. However, Officer Wenberg was able to point to a feeling he had. Officer Wenberg admits
in the preliminary hearing that “I don’t know if this is the suspect that were looking for or
not, I’m not sure, but I felt it was worth a look see”. (P.H. CR-2006-0570, pg 6, March
14", 2006). Officer Wenberg’s own testimony in the preliminary hearing supports that he
“felt it was worth a look see” and a feeling is acting on a “hunch”. His admission
testimony showed he was unsure of petitioner’s identity. There is the man he took a
surveillance picture of, but officer Wenberg had no idea if petitioner was in fact that same
man that police were looking for. Again, Officer Wenberg committed perjury in the
motion hearing to show reasonable suspicion that was never present. Officer Wenberg
never did, and could not point out any specific facts that would give a reasonable person
suspicion that the man he seen crossing the street at lunch time, not even close to the
clear description given, was in the commission of, or has committed any crime or was the
person that police were looking for. Officer Wenberg did admit petitioner was not
wearing the same clothing as earlier broadcast over the police radio, and was different

from the description the other officers gave him. Officer Wenberg had no idea if
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petitioner was bald, or not. Admittedly, he also had no idea if the man he seen crossing
the street was the same person he took a photograph of just a few months earlier. This
coupled with the facts discussed above clearly show that Officer Wenberg had no
reasonable suspicion and that any reasonable view of the factual evidence must come to
the conclusion that Officer Wenberg committed perjury and acted on nothing more than a
“hunch”,

Clearly the Wyoming Supreme Court errored and abused its discretion when it failed to
reverse the District Court. The District Court abused it discretion when it denied the
motion to suppress, and did so based on perjury and false facts used to show reasonable

suspicion. Wilson v. State, Id

“Factual Findings made by a trail court considering a motion to suppress will not be
disturbed unless the findings are clearly erroneous. Meek v. State, 2002 WY 1, 37 P.3d
1279,p8 (Wyo. 2002). Because the trail court has the opportunity to hear evidence, assess
witness credibility, and draw the necessary inferences, deductions, and conclusions, we
view the evidence in the light most favorable to the trail court’s determination. Id.
Whether an unreasonable search or seizure occurred in violation of constitutional rights
presents a question of law and is reviewed de novo.” Vasquez v. State, 990 P.2d 476, 480
(Wyo. 1999).

Officer Wenberg was not justified in opening the vehicle door and aggressively placing
his hands on and assaulting petitioner. Officer Wenberg needed probable cause to open
the SUV door. Testimony clearly supports that petitioner was totally cooperative,
compliant and kept all hands in full view until officer Wenberg became aggressive and
opened the SUV door and placed his hands on petitioner. Petitioner never moved his
hands out of his lap until after the officer physically forced himself on and assaulted
petitioner. Officer Wenberg did not have probable cause at the time he opened the SUV
door. Plus Officer Wenberg admitted he had no idea who the man was that crossed the
street and was sitting in the passenger seat of the SUV. Although he alleged to be familiar
with Cohen, however he admits that he was not sure until he was able to match up tattoos
at the county jail. The seizure and arrest of Cohen by Officer Wenberg was illegal and a

direct violation of the Wyoming and United States Constitutions.
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The search of the Camaro was illegal. There was a camouflage fragmentation vest seen in
the Camaro. There are no laws that forbid the ownership, protection, and use of these
items. There was no arrest made out of the Camaro therefore no search incident to arrest.
The vest was not in use and therefore not a threat. There was no actual evidence that this
vehicle possessed illegal contraband, there was nothing in plain view or sight that was
illegal. The state falsely assumed that there is probable cause to obtain a warrant due to
the mere presence of a camouflage vest. Notably, the vehicle was parked in front of a
home and no person was arrested out of the vehicle. Without something that was illegal
in plain-view the police did not have probable cause to obtain a warrant to search the
Camaro.

Appellate counsel is ineffective for failure to investigate and fully. incorporate the facts
stated herein. Petitioner’s constitutional rights have been violated and the conviction must
be reversed in the interest of justice.

The following issues were presented to the District Court in post-conviction then the
Wyoming Supreme Court in the Writ of Review, and now a second opportunity has been
given, in the order they were presented. This issue has clearly been exhausted and the
state courts fail to fix, or address the mistakes that the state made to uphold the illegal

stop and conviction of petitioner.

Appellate counsel failed to raise impermissible 404(b) evidence on direct appeal and
trail counsel’s ineffectiveness for failing to have the prejudicial 404(b) telephone

calls excluded.

The Wyoming Supreme Court has reiterated that the purpose of 404(b) evidence is to
avoid a demand that an accused defend acts of misconduct other than those charged in the
indictment or information and to avoid potential confusion by members of the jury in
addressing the issues of the case. The rule demands convictions are to be founded in
those facts relevant to the crime or crimes charged. If the thrust of the evidence of prior
bad acts evidence is only to demonstrate the defendant has a disposition to commit crimes
the evidence should be excluded. Johnson v. State, 936 P.2d 458 (Wyo.97), and Simmons
V. State, 2003 WY 84, (Wyo. 2003), Moreover, a criminal defendant “should not be
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convicted because he is an unsavory person, nor because of past misdeeds, but only
because of his guilt of the particular crime charged.” Leyva v. State, 2007 WY 136,
(Wyo. 2007). .

2. The State charged and convicted Petitioner with attempted first degree murder and
aggravated assault based entirely on telephone calls placed from the Natrona county jail.
However, Petitioner was initially arrested for misdemeanors, to wit, resisting arrest and
reckless endangerment on March 3", 2006. The state introduced the calls that were
placed from the jail {after} this arrest for misdemeanors. During the course of a couple
weeks, and the alleged inculpatory phone calls, the initial misdemeanors elevated into
violent felonies, to wit, attempted 1“ degree murder, aggravated assault. Defense Counsel
lackadaisically objected to the erratic phone calls being introduced at trial, but, not
unsurprisingly, the state paraded out all aspects of the telephone calls that were overtly
prejudicial. Petitioner contends that the laundry list of aspects and not a specific purpose
is a prejudice that cannot be overlooked or even overcome. Daniel v. State, 189 P.3d 859,
(Wyo. 2008)(T.T. 358-364).

3. Petitioner was on trial for the alleged crimes of Attempted First Degree Murder and
Aggravated Assault. He was not on trial for being an unsavory character and the usage of
profanity. He was not on trial for his contradicting knowledge concerning the drug trade.
He was not on trial for trying to secure bond and gain release out of jail. He was not on
trial for the implied infidelities with a female friend Mrs. Katie Gendron. The State did
put petitioner on trial for posturing over the jailhouse phone. The State exceeded its
ethical bounds by implying that petitioner was a known drug dealer, he was unfaithful to
his wife and family, and a total menace to the community. Unchallenged the state was
able to take petitioner’s mentally unstable induced statements, and use them as factual
and creditably documented character evidence to confuse, mislead, and inflame the jury.
(Wild v. State,2003 WY 93, Vigil v. State, 926 P2d 351, United States V. Commanche,
577 F3d 1261 (10" Cir 2009).

4. Petitioner was instructed by the public defender Ms. Collier to not testify. The Court was
duly notified of the decision and correctly and explicitly stated that prior convictions
were not to be introduced. Nevertheless, during voir dire, the public defender told the

jury that there were prior convictions of the same type as the alleged to be on trial for that
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day. She also stated that petitioner was not likable, that he was vulgar, mean and profane.
Mrs. Collier irrefutably predisposed the jury to perceive the defendant as having a
propensity to be involved in illegal activity. Mrs. Collier attended the 404(b) Hearing in
which the Court clearly stated that prior convictions were not to be introduced, but this
direction went unheeded due to Mrs. Collier’s obvious inexperience. Petitioner was on
trial for an array of serious felonies but, as the record reflects, the public defender was
blind-sided and compelled into an arena she was utterly unprepared to defend in.

5. “Arguments which are calculated to appeal to the jury’s prejudice or passion are improper
because they pose a risk that the accused may be convicted for reasons wholly irrelevant
to his guilt or innocence. Accordingly, it is improper to encourage the jury to convict a
defendant in order to protect the community rather than upon the evidence presented at
trial. In Gayler v. State, 957 P.2d 855, 861 Wyo. 1998), we restated this precept in a drug
delivery case. Burton, 2002 WY 71, p15, 46 P.3d at 314 (internal citations omitted).”

6. “It is well settled law that tape recordings are admissible in a criminal trial if they
accurately reproduce the conversations that took place and they are accurate, authentic,
and trustworthy. Once recordings are admitted, a defendant can seek to impeach them by
showing that the voice on the tape is not his, that the tapes are untrustworthy or
contradictory. United States v. Billy Mac Thompson, 130 F.3d 676, (5" cir 1997).”

1. Petitioner disputes the states injurious utilization of the phone calls. These calls
were made after the incident and while petitioner was suffering through
detoxification. Notably, the state used these calls to enhance misdemeanors, to
felonies and did so with untrustworthy, inaccurate erratic statements. Not only was
the state able to fraudulently enhance the misdemeanor charges but, went straight to
the most extreme of potential punishments.

2. The call or calls do not recount the entire event or any of the events. More
importantly the calls were taken out of context. The so-called inculpatory telephone
calls had absolutely no relevance to the alleged crimes of March 3™, 2006.

3. Every call was impermissibly altered to benefit the state. Only inculpatory portions
or “snippets” were played for the jury. Had the call been played in its entirety, the

jury would have been fully informed of his exclusive intent to post bail. This
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completely changed the context of the phone calls that were placed from jail. (T.T.
pg,362,371,744). .

4. Petitioner contradicts himself in every call. His actions were erratic and he was
saying all sorts of different things to different people in an effort to secure bond. All
of the calls played for the jury are untrustworthy, contradictory and should have
been excluded as irrelevant evidence. The state never laid foundation as to the
truthfulness of the calls. Had the public defender been effective, she would have
raised this concern, and not prejudiced the petitioner with his calls made claiming

all sorts of stuff to gain bail from jail, and be accepted by his peers.

7. The district court ruled in the 404(b) hearing that prior convictions were not to be allowed
before the jury, and yet, during voir dire, petitioner’s trial counsel impermissibly and
against the court ruling, informed the jury that petitioner was recently convicted of
charges that are similar and the same type of what he was on trial for. This patently
prejudiced the jury panel with previous convictions that were clearly in violation of the
courts 404(b) ruling. Without petitioner taking the stand to give the jury full and
complete disclosure in this, was a grave mistake made by trial counsel.

8. The exclusive character evidence the state introduced were the telephone calls which
compelled the jury to disregard the relevant facts. The state strenuously implied and
continuously stated petitioner was a prolific drug dealer in the community by utilizing the
snippets of phone calls. But again this was irrelevant to the actual crimes that stemmed
from March 3", 2006. This exposure to highly prejudicial, irrelevant, and inflammatory
evidence aroused the prejudices of the jury to protect the community against an alleged
societal evil. None were proven to be true with factual evidence. This is clearly in
contradiction to Strange v. State, 2008 WY 132, (Wyo. 2008).

9. The public defender was fully aware of the deleterious consequences of the telephone
calls. Nevertheless, she egregiously and unprofessionally failed to file a Motion in
Limine to contest the injurious and imminent effect the calls would have on the jury.
Petitioner was unequivocally denied his constitutional right; Moreover the Tenth Circuit

District Court has held that irrelevant recordings must be excluded and only offered for
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probative factors. United States v. Allums, 2009 U.S. Dist. LEXIS 31334 (D. Utah, Apr.
9, 2009). |

A large portion of the state’s presented case against the petitioner relied upon the use of
what should be perceived as illegally obtained evidence; and evidence that was improper
due to lack of competency, and comprehension, was in the form of phone calls, by
petitioner to his wife while under the influence of methamphetamine, and recorded by jail
personnel on the only telephone that petitioner was allowed to use. —

At no time during trial, or before did the state present evidence of a court’s order
permitting them to monitor and record petitioner’s protected conversations via the jail
telephone. Nor was any presented during the post-conviction case and appeal.

Petitioner in order to communicate with his wife or attorney (potential or acting) had to
use the jail telephone while he was suffering from the effects of detoxification from being
forcefully taken off methamphetamine and other illicit drugs. See immediately following
incorporated herein in fall and is made part here of.

It is without question that petitioner has an expectation to, and a right to be free of
intrusion into his protected right to communicate with his wife or his attorney; moreover,
that right should not be abused to the extent that it is recorded and then used to convict
him.

It is further without question that prosecutors, police, and jailers (police, often) work
together to obtain leads to evidence and evidence to use against an arrested and held
pretrial detainee.

And, it is also without question that the jailers offer only phone service to criminal
defendants that is under exclusive control and applies equally to the recording on non-
privileged and privileged conversations, to be used to aide in or conduct investigations,
and to be ultimately used in prosecutions.

Trial and appellate counsel were ineffective in their failures to remove the offensive
phone conversations, and the investigation into or presentation of evidence of petitioners’
mental status from methamphetamine detoxification.

It has long been determined that in trial sense, drugs can inhibit or prevent a criminal
defendant from participating in his own defense, i.e. exercising his right to participate in

his own defense. A hearing to determine the defendants capability to participate in his
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own defense is generally required. The same standard should apply to a defendant who
being forcibly cut off from his daily intake of methamphetamine and undergoing
detoxification should have had a proper hearing, ibid., and in some applications, a
retrospective hearing. Whether viewed as a “confession” or “admission/ statement against
interest”, due to Petitioner’s heavy drug use and resultant detoxification symptoms, he
should have been given a hearing to make a reliable determination on the voluntariness
issue. And it is a legal question requiring independent consideration in a federal habeas
corpus proceeding. This aspect of “capacity”, “voluntariness”, ect, is not new.

18. The best argument would possibly be that trial counsel failed to secure any of petitioners’
rights, including but not exclusive, the Fourth Amendment right against unlawful
seizures; Sixth Amendment right to participate in his own defense, and to effective
assistance of counsel; to right to protected spousal and counsel communications; and the
same violations of effective assistance of counsel on appeal for also not securing, or
recognizing the need for, petitioners’ rights.

19. Trial counsel was ineffective for defying the explicit order of not introducing the fact that
petitioner was a convicted felon, prohibiting petitioner to take the stand in his own
defense, and failure to file a motion in limine. Appellants Counsel’s failure to raise this
issue On direct appeal is clear evidence of ineffective assistance counsel in violation of
the United States Constitution and the Wyoming Constitution. Therefore, petitioner
request his convictions be reversed and granted a new trial, which is based on relevant,

reliable, truthful, and noncontradicting evidence of an actual crime.

#2 Appellate Counsel is ineffective for failing to raise trial counsel’s ineffectiveness on
direct appeal. Trial Counsel is ineffective for failing to investigate Petitioners
methamphetamine detoxification and prominent mental disorders and chemical

imbalances that compelled the injurious phone calls.

1. The United States Supreme Court has outlined trial counsels duty to investigate as follows:
Strategic choices made after less than complete investigation are reasonable to the extent
that reasonable professional judgments support the limitations on investigation. In other

words, counsel has a duty to make reasonable investigations or make a reasonable
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decision that makes particular investigations unnecessary. The reasonable of counsel’s
actions may be determined or substantially influenced by the defendants own statements
or actions. Counsel’s actions are usually based, quite properly, on informed strategic
choices made by the defendant and on information supplied by the defendant. What
investigations decisions are reasonable depends critically on such information. Strickland
v. Washington, 104 S. Ct. at 2066.

2. As previously stated petitioner was initially arrested for five misdemeanors, and three
felonies when placed in the Natrona County Jail. The only violent felony was dismissed
by the Circuit Court for lack of probable cause. Subsequently, he tried to post bail on the
remaining charges, and in the process made numerous ill-advised and erratic phone calls
that were recorded by the state. However, the state had no warrant and the security of the
facility was never an issue, yet, the state utilized the privileged calls for the illicit purpose
of elevating and fabricating violent crimes that were never actually committed.

3. Prior to arrest petitioner has been medically diagnosed with Bi-polar Disorder, Attention
Deficit Disorder, Attention Deficit Hyperactivity Disorder, Substance Abuse Disorder,
Chronic Depression, and Adjustment disorder, and was manifestly detoxing from the use
of methamphetamine, alcohol, and other elicit substances. The detoxification from these
substances coupled with petitioner’s documented psychiatric problems obviously invoked
behavior that was erratic and aggressive. Petitioner had an uncontrollable need to be
accepted and loved by people in his life.

4. An expert in methamphetamine abuse treatment, Dr. David McDowell, concluded that
after using methamphetamine, the addict crashes which can cause feelings of depression
and suicide. Even after discontinuing methamphetamine use addicts can have continuous
psychotic symptoms that persist for months and even years. In fact, the prolonged use of
crystal methamphetamine can irreparably damage the brains receptors. This brain
damage, which consists of dried up receptors and faulty pathways for the brains thoughts
can cause severe behavioral problems such as: paranoia, decreased social skills,
delusions, depression, malnutrition, violence, aggression, permanent psychological
problems, kidney and lung disorders, liver damage, hallucinations, and feelings of

suicide.
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5. Dr. McDowell further noted that “the timing and intensity of the rush are a result of the
high levels of dopamine in the brain. Methods that methamphetamine to pass into the
brain more quickly are from smoking or injecting and promote more reinforcing and
more addiction.” There are several serious physical and psychological risk involved when
using (crystal) methamphetamine including; increased blood pressure, rapid heart rate,
inflammation of the lining, damage to small blood vessels in the brain which can lead to
stroke, episodes of violent behavior, anxiety, paranoia, insomnia, and confusion. (Dr.
David McDowell M.D. is the medical director of the Substance Treatment and Research
Service at Columbia University at the New York State Psychiatric Institute).

6. The symptoms of adjustment disorder is a feeling of hopelessness, sadness, anxiety, severe
mood swings, need for acceptance, posturing, overly intense in their response to stress,
depression, an overbearing willingness to be insincere, and untruthful nature, to receive
the acceptance of people around them. In addition to these psychological problems there
is numerous physical symptoms as well, which include but not limited to, headaches,
stomachaches, palpitations, withdrawal or isolation from people and social activities,
dangerous or destructive behavior, such as fighting, reckless driving, vandalism, intense
fatigue and possible suicide.

7. Bi-polar disorder has the primary symptoms and are dramatic and unpredictable mood
swings. The illness has two (Bi) strongly contrasting phases (polar). 1) Bi-polar mania or
hypo-mania, consists of euphoria or irritability, excessive talk, racing thoughts, inflated
self-esteem, unusual energy, less need for sleep, impulsiveness, a reckless pursuit for of
gratification. 2) Bi-polar is a significant and noticeable condition of depression, low
energy levels, apathy, sadness, loneliness, helplessness, guilt, slow speech, fatigue,
insomnia, or oversleeping, suicidal thoughts, poor concentration, lack of interest or
pleasure in usual or normal activities.

8. Significantly, the methamphetamine detoxification and the methamphetamine withdrawal
came after the arrest. Consequently, it would have been impossible for petitioner to
commit any such crimes against Officer Wenberg eighteen days after and while
incarcerated. This detoxification went on unnoticed and untreated by professionals
familiar with detoxification and the behaviors associated with withdrawal. Notably,

petitioner had numerous behavioral reports written by the staff at the Natrona County
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Jail. Regardless, of the fact that petitioner was detoxing, the state audaciously utilized his
erratic and uncontrollable behavior to demand that petitioner be shackled during his trial.
Expert Medical testimony would have explained to the jury all the documented medical
and mental issues that compelled petitioner to irrationally make phone calls that out of
character. Petitioner’s behavioral dysfunctions in the hours and days following his arrest
are relevant of the methamphetamine withdrawal symptoms and psychological issues that
clearly invoked his undiagnosed and untreated behavior.

9. Daniel G. Amen, M.D., is a clinical neuroscientist and behavioral forensic consultant, at
350 Chadbourne road, Fairfield, CA 94585. Telephone No. 707-429-7181. Dr. Amen has
tested the brain of numerous methamphetamine users, and ex-users and all have shown
some type of temporary, and some permanent brain tissue loss or damage and that the
brains of ex-users are rewired due to the extremely high levels of dopamine, and that the
dopamine receptors dry up and fail to work properly due to this flood over a period of
time.

10. Petitioner has a history of Bi-Polar disorder/Manic depression, ADD/ADHD, adjustment
disorder, and substance abuse disorder and has been on a variety of medications.
Petitioner has diligently tried to obtain medical records from the beginning of his
psychological treatments in California. Including the short term in-house treatment
program and the Kaiser Permanente, and Options LH where he was a long-term, in-house
patient. Petitioner has been placed on numerous psychological medications prior to and
during his incarceration, and has diligently attempted to obtain his psychological records
from his medical providers and the prison but has been unsuccessful. If the Court should
require, petitioner’s father Martin Cohen, who now resides in Heber City, Utah, can be
called to testify to the psychological and physical abuse petitioner suffered through as a
child and adolescent. Mr. Cohen will also testify to the psychological in house and out
patient treatments in California, due to this abuse and psychological disorders. Submitted
in his Motion to amend was school records from Carmichael, California that show
petitioner was emotionally disturbed, and placed in special education as a child and
adolescent for having disabilities. Petitioner has diligently attempted to obtain
documented evidence from two of the psychological treatment facilities, but so far

diligent efforts have been in vain.
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The affirmative defense of petitioner’s methamphetamine detoxification, withdrawal and
his documented psychological problems and learning disabilities clearly demonstrate a
serious lack of credibility in regards to the phone calls that were utilized to convict
petitioner of violent crimes. If expert analysis testimony been requested and made
available prior to trial and a reasonable investigation been undertaken to explain the
chemical imbalances associated with methamphetamine detoxification there is a
substantial probability that the jury would have put the phone conversations in there
appropriate context. This would have explained petitioner’s erratic behavior in the phone
recordings that were unconstitutionally introduced to the jury. With this information,
there is a substantial probability that the verdict would have been in favor of petitioner.
This detoxification information was crucial and relevant and should have been available
for the jury and the jury and any other potential testimony from an expert witness
concerning these psychotic features, including auditory hallucinations, delusions, mood
disturbances, and paranoia which can result in homicidal as well as suicidal thoughts.
Keats v. State 2005 WY 81, Asch v. State,2003 WY 18, Barkell v. Cruose, 468 F.3d 684,
(10" cir 2006), Drope v. Mo., 420 US 162, 178-83(1975).

The states entire case-in-chief relied exclusively on the recorded telephone calls placed
from the Natrona Count Jail. However, as clearly stated, petitioner is suffering form
several diagnosed psychological disorders including Bi-Polar disorder, Adjustment
Disorder, ADD/ADHD disorders, and Substance Abuse disorder. Trial and appellate
counsel are ineffective for failing to properly investigate and advocate petitioners mental
state and psychological disorders as require by Wyoming Statutes § 7-11-301 et.seq. and
Wyoming Rules of Criminal Procedure. Ms. Collier and Ms. Domonkos should have
investigated petitioner’s mental state, methamphetamine detoxification, and learning
disabilities. Armed with this exculpatory information both public defenders should have
advocated petitioners manifest condition regarding the telephone calls.

Trial counsel was wholly irresponsible and ineffective for failing to advocate petitioner’s
documented disabilities. More significant was the ignorance of the manifested symptoms
of methamphetamine detoxification and withdrawal. This physical and mental process
compelled behaviors that were beyond the knowledge or control of petitioner. The

paranoia alone invoked an aggressive demeanor that instead of being recognized and
14.

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treated, it was utilized to support an array of misconduct reports that promoted petitioner
being shackled during trial, utilized to enhance misdemeanors to violent felonies, and
ultimately to sentence petitioner to Life Without the Possibility of Parole. Nevertheless,
the inexperience of trial counsel was displayed by her inability to duly investigate
petitioner’s conduct in the Natrona County Jail and specifically his paranoid, erratic and
aggressive calls. Strandlien v. State, 156 P.3d 986 (Wyo. 2007).

“A defense attorney is presumed to be competent to provide the guiding hand that a
criminal defendant needs, and the burden rests an the accused to demonstrate a
constitutional violation arising from ineffective assistance of counsel; there are, however,
circumstances that are so likely to prejudice the accused that the cost of litigating their

effect in a particular case is unjustified.

15.The presumption that counsel’s assistance is essential requires the conclusion that a trial is

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unfair if the accused is denied counsel at a critical stage of his trial; similarly, if counsel
entirely fails to subject the prosecutions case to meaningful adversarial testing, then there
has been a denial of Sixth Amendment rights that makes the adversary process itself
presumptively unreliable.

There may be circumstances of such magnitude that, although counsel is available to
assist the accused during trial, the likelihood that any lawyer, even a fully competent one,
could provide effective assistance is so small that a presumption of prejudice is
appropriate without inquiry into the actual conduct of the trial.’ See United States v.
Cronic, 466 U.S. 648, 104 S.Ct. 2039, (1984).

Appellate and trial counsel failed to subject petitioner’s documented learning disabilities
and ongoing psychological issues to a meaningful adversarial testing as mandated by
Cronic as stated above. Therefore, they were both ineffective assistance of counsel and

consequently, petitioner’s conviction should be reversed and remanded for a new trial.

Trial counsel was ineffective for failing to investigate petitioner’s documented
learning disabilities that facilitated the misunderstanding regarding the recording of
the injurious telephone calls. Appellate counsel is ineffective for failing to investigate

and raise on direct appeal the identical issue.
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Petitioner submitted his school records in his Motion to Amend his Petition for post-
conviction relief. These records are from the special education department of San Juan
Unified School District located in Carmichael, California. These records support
petitioner’s inability to fully understand his situation and his being emotionally disturbed.
These school records show that petitioner’s learning and comprehension disabilities kept
him from fully understanding that the telephone calls were being recorded and that they
could be used in Court against him. Without petitioner consenting or understanding the
impact of his telephone calls being recorded, the state should have been prohibited from
introducing them in their case-in-chief.

Again, petitioner’s detoxification from methamphetamine triggered an extreme chemical
imbalance. This coupled with petitioner’s documented learning disabilities and
psychological problems, provides relevant data that organic brain damage is evidenced by
prior methamphetamine abuse and detoxification. Petitioner not only failed to fully
comprehend and process the distinction between privileged calls and calls to family and
friends attempting to secure bond. His ill-advised and erratic telephone calls were being
recorded without due consent, but also, he had no cognitive ability or the mental capacity
to understand that all of his private, and posturing statements were recorded and were to
be impermissibly used as inculpatory evidence to fabricate violent crimes against
petitioner.

Petitioner attached his school records to support that he was placed in special education
due to a history of learning disabilities and continuing emotional, and psychological
problems. Trial counsel should have adamantly and professionally requested that
petitioner undergo a battery of psychological testing and appropriately investigated the
medical symptoms of methamphetamine detoxification and adverse methamphetamine
withdrawal.

Trial and appellate counsel were ineffective for failing to investigate, recognize, and
advocate petitioner’s inability to comprehend the dire consequences of using the Natrona
County Jail phone. Appellate counsels and trial counsels are ineffective for their
collective failure to raise this relevant issue at trial and on direct appeal in violation of the

United States Constitution and the Wyoming Constitution. Petitioner’s conviction should
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reversed and remanded for a new trial. #2 preceding is adopted and incorporated

herein in full.

#4 Appellate and trial counsels are ineffective for failure to raise and file a motion to

suppress spousal privileged communications.

1. The state, as represented by special agent Tina Trimble, intruded into an area “which

there is a constitutionally protected expectation of privacy,” New York v. Class, 475 U.S.
106, 112, 89 L.Ed. 2d 576, 88 S.Ct. 507(1967)(Harlan J Concurring). Such a

“Constitutionally protected reasonable expectation of privacy” exists only if 1) The

defendant has an “actual subjective expectation of privacy” in the place searched, and 2)

Society is objectively prepared to recognize that expectation. United States v. Davis, 932
F.2d 752, 756 (9" Cir 1991).

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2.)

At trial the state introduced approximately
thirty phone calls of petitioner and his wife which specifically entailed infidelity
issues, financial hardships, possible sources of money, monies that were owed, and
the possibility of securing bond. The state impermissibly invaded petitioner’s
privileged calls between his wife and himself. The Tenth Circuit is unrelenting in the
spousal privilege of communication and; any communication between husband and
wife is spousal privileged communication and is expected to be private. A
“Constitutionally protected reasonable expectation of privacy” easily fits, any
communication between husband and wife is expected to be private regardless of the
topic and subject.

“Society is objectively prepared to recognize that expectation.” Society as a whole
has regarded the relationship between husband and wife to be sacred and has
historically encouraged confidential communication between spouses. Without
confidential communications between husband and wife the ground work and
foundation of marriage would fail. United States v. Jones, 213 F.3d 1253, 1260b (10"
cir. 2000).

The State of Wyoming joins this irrevocable determination:

a) Wyo. Stat. Ann. § 1-12-104, provides; No husband or wife shall be a witness

against the other except in criminal proceedings for a crime committed by one against the
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other, or in a civil action or proceeding by one against the other. They may in all civil and
criminal cases be witnesses for each other the same as though the marital relation did not
exist. “The primary purpose of the confidential marital communication privilege is to
foster marital relationships by encouraging confidential communication between spouses.
This is the primary purpose the Wyoming legislature intended to further when it enacted
Wyo. Stat. Ann. 1-12-104 (1988). Curran v. Pasek, 886 P.2d 272 (Wyo. 1994).

All calls/communications utilized by the state clearly fall in this category. Petitioner’s
marriage and well established confidential marital communication did not dissolve at
arrest or pretrial detention. The martial communication privilege bars introduction at trial
any confidential communications between spouses. Therefore, a warrant was required by
special agent Trimble to invade into the privacy of petitioner’s marriage, and spousal
privilege. See United States v. Apodaca, 522 F.2d 568, 570 (10" Cir. 1975).

It is United States Supreme Court precedent that during pretrial detention all pretrial
detainees’ rights are retained with the expectation to institutional security. At no time did
the detention center staff review calls for the legitimate security of the institution. The
calls were illegally seized by the Department of Criminal Investigation. Special agent
Tina Trimble failed to secure a required warrant and is not a Natrona County Detention
Center employee, whose primary concern is the institutional security. The State’s entire
case-in-chief relied on the telephone calls. The State had no personal knowledge of the
expression and direction of all the people involved in the phone calls, therefore the state
took petitioner’s calls out of context and fabricated violent crimes. Dickeson v. State, 843
P.2d 606 (Wyo. 1992), Bell v. Wolfish, 441 U.S. 520, 535, n. 16, 99 S.Ct. 1861,(1979).
Trial and appellate counsel are ineffective for failing to raise, investigate, and advocate
this issue in trial and on direct appeal all in violation of the United States Constitution,
and the Wyoming Constitution, and Wyoming Statute Ann. § 1-12-104. Therefore

petitioner’s conviction should be reversed and remanded for new trial.

Appellate counsel was ineffective for failing to raise Title III of the Omnibus Crime
Control and Safe Streets Act and illegally seized calls. Trial Counsel was ineffective

for failing to have calls excluded due to Title III.
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1. Title II] of the Omnibus Crime Control and Safe Streets Act, 18 U.S.C.S. §§ 2510-22,
generally forbids intentional interception of wire communication, such as telephone calls
when done without a court order authorization. An unlawfully intercepted telephone call
may not be offered as evidence in a trial. 18 U.S.C.S. § 2515, 18 U.S.C.S. § 2511 (2)(C).

2. Petitioner was a pretrial detainee placed in twenty three hour a day lock down. He was
not given an inmate handbook. The Natrona County Jail is obligated to provide this
handbook to inmates once they were moved to population. Petitioner was never moved to
population; therefore petitioner never received the handbook, which may have stated that
his calls could be monitored. Petitioner was never given the Miranda warning and never
signed any Miranda waver form or waived his constitutional right. However he did
invoke his constitutional right to remain silent.

3. The Natrona County Jail telephones are not clearly marked that all calls are recorded.
The same phone that is used for attorney calls is also used for personal calls. Plus, the
recorded message that came on during attorney calls, “that this call is subject to recording
and monitoring,” came on during personal calls. This recorded message was the only
notice of the recording of petitioner’s calls, and it was ambiguous and confusing.
Specifically, to the mentally impaired and learning disabled. The message never stated
you must consent to the recording. And the use of, “subject to be,” is misleading. It
implies that the calls can be monitored for security of the institution at the time the call is
placed and recorded only when a potential security issue is present. Implying the
computer has a program that is set up to recognize specific security words and at that
time begin recording. At no time was it understood that petitioner’s private calls could
and would be used as evidence in his trial.

4. Petitioner has a documented history of learning, and comprehension disabilities, plus
being emotionally disturbed; and as a result, was placed in special education and
alternative schools in his formative years. The learning disabilities, psychological
disorders, and a chemical imbalance due to methamphetamine withdrawal certainly
influenced petitioner’s cognitive ability to understand that the telephone conversations
were being recorded. At no time did petitioner give permission, or consent for the

recording of his private communications with his wife and family.
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5. Moreover, a warrant is required by Special Agent Trimble to seize and intrude into
petitioner’s private telephone calls and impermissibly obtain evidence that would be
utilized at trial. The Wyoming and United States Constitutions require probable cause to
seize and use the conversations in trial. Agent Trimble’s actions are in violation of Title
III Omnibus Crime Control and Safe Streets Act, and both the United States Constitution
and Wyoming Constitution. Therefore, all calls illegally seized and utilized to obtain a
conviction are unconstitutional and must be excluded. Petitioner is entitled to a new trial
without the impermissibly obtained telephone calls.

6. Trial and Appellate counsel are ineffective for failing to raise this in trial and direct
appeal all in violation of the Wyoming constitution and the United States Constitution.
Appellant Counsels failure to raise this issue rendered her ineffective in violation of the
sixth and fourteenth amendments of the United State Constitution, and Art. 1§4, 6,9,10 of
the Wyoming Constitution. Therefore, Petitioner’s convictions should be reversed and

remanded for a new trial.

#6 Appellant and Trial counsel were ineffective for failure to raise the United States
Constitution Fifth Amendment and Article 1 § 11 of the Wyoming Constitution
when the State utilized petitioner’s communications as reliable and truthful

evidence against him.

1. The Fifth Amendment guarantees the government cannot compel a defendant to be a
witness against himself. The word (witness) in the Constitutional text limits the relevant
category of compelled incriminating communications to those that are testimonial in
character. US. V.
Hubbell, 147 L. Ed. 2d 24, 120 S.Ct. 2037 (2000).

2. The factors to be weighed in the balance include, but, are not limited to the integrity of
the adversary process, which depends both on the presentation of reliable evidence and
the rejection of unreliable evidence, the interest in the fair and efficient administration of
justice, and the potential prejudice to the truth-determining function of the trial process.
“The Confrontation Clause may make the prosecution of criminals more burdensome, but

that is equally true of the right to trial by jury and the privilege against self-incrimination.
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The Confrontation Clause--like those other constitutional provisions--is binding, and the
United States Supreme Court may not disregard it at its convenience.”
Melendez-Diaz v. Massachusetts, 129 S. Ct. 2527, (2008)

Petitioner’s “inculpatory communications” were not under oath; therefore are not
trustworthy and must not be allowed as testimonial evidence. Petitioner’s public defender
did invoke the right to not testify, and yet, the state introduced the inculpatory calls and
compelled an impermissible admission of spousal privilege. There was no adversarial or
confrontation process in trial as petitioner and his wife did not testify. The prejudicial and
untrustworthy one sided picture painted by the State clearly exhibits that petitioner’s
public defender failed to zealously argue for the exclusion of the telephone calls or even
challenge the relevance or validity of the telephone calls.

Appellant counsel egregiously failed to raise Fifth Amendment violations regarding the
illegally seized phone calls that were utilized to compel petitioner and his wife to be a
witness against him. More notable is the fact that the public defender failed to file a pre-
trial motion concerning this Fifth Amendment violation and to vigorously argue for the
exclusion of the testimonial communications/phone calls.

Appellant and Trial Counsel violated Petitioner’s rights as guaranteed in the Wyoming
Constitution Art. 1§4, 6,9,10 and the Fifth, Sixth and Fourteenth Amendments of the
United States Constitution. Therefore, Petitioner’s convictions should be reversed and

remanded for a new trial.

Appellant Counsel failed to raise ineffective assistance of trial counsel for failing to

motion the court pretrial, or during Voir Dire for a change of venue.

. Prior to trial, the community was inundated with Television, Radio, and Newspaper

articles for a period of approximately two months that portrayed petitioner as guilty
before the benefit of a trial. Based on petitioner’s sensational and inflammatory case the
jury should have been sequestered to avoid the obvious prejudice. Petitioner specifically
recalls that every day during the trial he heard about his trial on the radio on the transport
back to the jail. Petitioner’s media exposure was limited given his (twenty three hour a

day lock down) incarceration. But most certainly the jury pool was saturated with the
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overplayed media coverage. Obviously, the media influenced and infected the integrity of
the trial and the jury. And yet, trial counsel refused to submit a motion for change of
venue. The Trial Court must have been aware of the media coverage and should have sua
sponte ordered a change of venue to another county. During voir dire; Juror Ms. Dewitt
remembered seeing a picture of petitioner on TV, and stated in front of the jury that “I
think if I did see him, he was in orange, and I notice he’s not today.” Also, when asked
“without saying what you heard but knowing that you saw something, does that at all in
any way influence the way you might be a fair juror for this trial?” she replied, “no. If-
no.” The “if” is the word that should have been looked into. “If” is implying that she was
debating in her own mind if she was able to be fair and impartial. Juror Ms. McCormick
admitted to being exposed to media coverage, and yet, they were both seated on the jury.
Mr. Charvat also remembered the newspaper articles. (TT, 52-53)(TT, Vol. I,
pg 153)

2. This Court abused its discretion in failing to properly inquire into the potential bias of
jurors in violation of Wyoming Constitution and the United States Constitution. See
specifically Harlow v. Murphy, 05-CV-039-B (D. Wyo. 2008). Rosales-Lopez v. United
States, 451 U.S. 182, 101 S. Ct. 1629, 68 L. Ed. 2d 22 (1981).

3. Appellate Counsels failure to raise ineffective trial counsel rendered is ineffective
counsel in violation of the Sixth and Fourteenth amendments of the United States
Constitution, and Art. 1§4, 6,9,10 of the Wyoming Constitution. Therefore, Petitioner’s

convictions should be reversed and remanded for a new trial.

#8 Appellant Counsel failed to raise on Direct Appeal that the jury had members that
were bias and predisposed. Trial counsel failed to adequately Voir Dire potential
jurors and the District Court’s inadequate voir dire rendered the process virtually

meaningless and violated the Wyoming and United States Constitutions.

1. During voir dire, Mr. Marken, the prosecutor, stated that “this is the who-do-you-know
phase of the trial. And normally, I ask juries if — if anyone knows me, but from looking at
the panel, it seems like I should ask if anyone doesn’t know me, raise your hand because

I recognize a lot of people on the panel.” There were approximately seventeen people in
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the potential panel that knew Mr. Marken. Evidently, Mr. Marken used this opportunity
to bolster his authority in the community and that he should be trusted due to his long
time service as a State criminal prosecutor and selected a jury pool of his peers and not
petitioners.

(TT, pg. 52)

. Egregiously and notably, prospective juror Mr. Loyd told the jury panel that petitioners’
name came up in a federal trial in front of Judge Downes and that he was the jury
foreman. That, this trial was a “criminal case 9 - - 11 counts of possession, possession
with intent, firearm, trafficking. We served for thirty five days I think. It was very
lengthy, a lot of evidence.” The state asked Mr. Loyd if he heard petitioner’s name in
that other trial and the response was, “yes”. Even though Loyd was not picked as a juror
in this trial, his statements of attaching petitioner to this, big drug and gun trial, infected
the jury with undue bias and 404(b) evidence that petitioner was associated with a
convicted gun packing, drug user/dealer. This cannot be allowed, especially in the
presence of the potential jurors. It prejudicially implies petitioner has been involved in
criminal activity of the same type and got away with those crimes. This injuriously and
prejudicially infects the integrity of Voir Dire. Furthermore, even Mr. Loyd recognized
his influence because he stated in the Judges chambers that “I’m sorry I had to bring
you guys in here. J hope I didn’t influence anybody out there. Name rung a bell. I
didn’t know what to do. I was bothered by it. I never had that reaction.” Loyd also
states “I served over there. I never had - - I mean, I feel horrible. I really do.” In
other words, he knew he infected the jury, and he knew what he did was wrong. The
Court knew what he did was wrong, and should have excused that jury panel and pooled
a new jury. Regardless of funding, inconvenience, or time constraints. The right to an
impartial jury and fair trial is binding. The trial judge is responsible for insuring a
defendant is not denied his right to trial by an impartial jury. (TT, pg 75-95)
United States v. Gillis, 942 F.2d 707, 709 (10th Cir. 1991)

. Mr. Hernandez is the first juror impaneled. His wife, Ms. Molly Hernandez worked for
the Department of Family Services (DFS), up until recently. Defense counsel prejudiced
petitioner by asking: “Knowing that there’s a prior conviction involved here, potentially

for the same crime that Mr. Cohen is currently looking at, how does that make you feel?”
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4. Mr. Hernandez: “well I think that I - - I could hold separate what’s currently going
on. I mean, I guess it’s - - it could be in the_back of my mind, but I would have to
focus on the current issue and hold that separate.”

Defense: “and you feel you could do that?”
Mr. Hernandez: “Yes.”

5. Defense counsel’s admission is not only prejudicial but in complete defiance of the
District Court’s order prohibiting the introduction of a prior felony. Nevertheless, this is
the only question that was asked of Mr. Hernandez and he was obviously conflicted in his
own mind if he could ignore a prior conviction or not. This was flagrant ineffective
assistance of trial counsel. Defense counsel and the District Court should have
investigated into this more thoroughly to establish if there were any more prejudices
present that may have stemmed from his wife’s employment at DFS. (TT pg 144-
145)

6. Ms. McCormick was the second juror seated and admitted to her niece being convicted of
a felony methamphetamine charge in another state. The State then asked, “All right from
what you know about her and her circumstance, was she treated fairly by law
enforcement and the prosecuting agency?”

7. Ms. McCormick replied “I wasn’t present, so.” Not only did Ms. McCormick not
answer the question properly. No other questions from the state were asked to develop
bias or prejudice.

8. Defense asked “Has anyone ever had a friend or a family member that was pretty wild
maybe when they were young, but had been able to straighten their life out?”

McCormick replied her “niece.”
Defense: “How do you feel about her life now?”

9. McCormick “she’s come full circle she’s where she should be.” Neither the state nor
defense asked her how she felt about methamphetamine given her families involvement.
More importantly, neither side asked if she had any prejudice toward people who had
used methamphetamine. Defense counsel, the state, and more so, this Court should have
looked into this juror further to inquire if she was going to convict based on the alleged
use and distribution of methamphetamine. Because of her families personal involvement.
(TT pg 111-112,148). In United States v. Eubanks, 591 F.2d 513, 517 (9th Cir. 1979),
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the court found that the fact that a juror's sons used heroin barred any inference that juror
could be impartial in a case in which defendants were charged with distributing heroin.
The third person voir dired and seated is Ms. Dewitt; the only questions asked by the
State was “Do you have any commitments or problems that would prevent you from
focusing on this trial over the next week or so?”
Ms. Dewitt replied “None that I can’t work around.” This statement implied that there
was, but that she would attempt to put it aside regardless, of the inconvenience of being a
juror.
The Defense asked the panel “we’re not sure if the defendant is going to testify or not. So
is there anybody who can tell me why a person may not want to testify in their own
behalf? Anyone? Any ideas?”
Ms. Dewitt immediately replied: “Just maybe keeping their story the way its
been from the beginning, maybe.”
Defense “Okay, so making sure that they can tell their story when they get on the
stand- -”
Ms. Dewitt “the way they told it from the beginning.” In other words, Mrs. Dewitt had
her mind made up that criminal defendants have a propensity to be untruthful and guilty.
And, if they don’t take the stand in there own behalf they must be guilty. Mrs. Dewitt’s
preconceived opinions of criminal defendants are biased and prejudicial.
Defense asked “How many of you had a wild family member?”
Ms. Dewitt answered “Family member. She straightened her life out pretty good although
her ex-husband hasn’t. But, I mean, I don’t know what- - where do you want me to go
with that? How I feel about that?” The Court and Defense counsel should have explored
into this more thoroughly to see how pervasive the bias towards the ex-husband was and
how his continued wild behavior might have affected her life and may still have been
affecting it. This wild side was never explained and what it exactly pertained of and if the

ex-husband used methamphetamine. This is a prejudice that should have been explored.

(TT 139-40,146-7)
The forth juror seated was Ms. Baxter. This juror was not voir dired, and as a

consequence, there is no way to determine if she had any bias or prejudices. Trial
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counsel, the State, and the Court failed their fundamental duty of voir dire in not asking
any questions of this imminent juror. “Voir Dire” stands for to seek the truth, but in this
instance and several others the system failed. It did however seat an inadequately Voir
Dired jury panelist.

16. The fifth juror seated was Mr. Reece. The state asked him only one question: “Okay. Lets
see here. Mr. Reece, you indicated you have been on a jury in the last six months or so,
year or so. Where are you? There you are.”

Mr. Reece: “I was called for jury duty, but I wasn’t seated.”

The State: “Was that in this Court or across the street in Circuit Court?”

Mr. Reece: “Actually, they called the morning of and canceled it, so we didn’t show up.”
The State: “So you never actually served on a jury and rendered a verdict?”

17. Mr. Reece nodded. Again, as the record reflects, this juror was not adequately Voir
Dired. And, as a consequence, there is no way to determine if he had any bias. Trial
counsel, the State, and the Court failed their fundamental duty of Voir Dire in not asking
any questions of this imminent juror. “Voir Dire” stands for to seek the truth, but again in
this instance and several others the system failed to seat an adequately Voir Dired jury
panelist. (IT
pg. 118-119)

18. The State asked: “who knows me.” Mr. Charvat who was the sixth juror to be seated
replied “I’ve had some experience with your boss, Mr. Blonigen, in the District
Attorney’ Office in homicide cases. I’m in “Parents of Murdered Children” having
had a stepchild murdered. But I don’t know you. I’ve never had anything to do with
you. I think it was only Mr. Blonigen and Mr. Schafer that I’ve been involved with
at all.” This admission is outrageous. Mr. Charvat has an indisputable alliance with the
District Attorney’s Office and should have been rejected outright by all parties, and more
so by the trial court.

19, The State asked Mr. Charvat “are you concemed that, at least from what you know of this
case, that you would not be able to be a fair and impartial juror?”

Mr. Charvat replied “No, I have no concerns about that.”
20. Mr. Charvat by his own admission had lost a loved one to a violent crime. The depth of

his loss for sanctioned revenge is undeterminable, but unequivocally present. Mr. Charvat
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openly and defiantly admitted that his was friends with Mr. Blonigen and Mr. Schafer,
and he believes this friendship to be a “positive and personal relationship.” Mr. Charvat
openly boasted that he had a positive and personal relationship with the District
Attorney’s Office, but, this admission notwithstanding Mr. Charvat is seated. Had he
been petitioner had a positive and personal relationship with any juror, the State and the
Court would have summarily had that juror excluded for cause. (TT,

Vol. I, pg 54-5)

. Mr. Charvat candidly admitted that his own daughter was a victim of a gun crime

involving domestic violence. Mr. Charvat goes on later in the proceedings and states “My
wife and I are both close to your victim witness advocates in the DA’s office, the
Sheriffs Office, and the Police Department, so - - because of only via homicide stuff.”
He also states that his “interest in the homicide is only in support of the victims.” Again,
this prejudice is blatantly clear. This juror should have been immediately excused for
cause by the Court. Mr. Charvat by his own admission is an advocate for victims of
violent crimes, and close friends with all areas of law enforcement specifically, the
Casper Police Department. The alleged victim is a Casper police officer, whom Charvat

considers to be a close and personal friend.

. This Court was duly aware that Mr. Charvat was a dominant presence during voir dire.

This provided him an opportunity to advocate his favorable opinions regarding the
District Attorney’s Office, and specifically the Casper Police Department. Moreover, Mr.
Charvat’s biased views would have certainly been incorporated into the jury deliberations
and ultimately petitioner’s conviction. "Implied bias can be proved by showing that the
juror had a 'personal connection to the parties or circumstances of the trial" or when there
are "similarities between the personal experiences of the juror and the issues being
litigated.” Id., quoting Gonzales, 99 F.3d at 986.

The District Court, trial counsel and the prosecution failed the very essence of voir dire
by allowing this juror to be seated. (TT, pg 64-67)

The seventh juror to be seated was Mrs. Branscom. She admitted to having family that
worked in law enforcement in Johnson County.

Defense counsel asked: “would you weigh their testimony any more or less creditable

than a lay person?”
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Mrs. Branscom: “No.”

Defense: “are you going to have any concerns, as Mr. Marken mentioned, that this
attempt, is potential on a police officer? Does that give you any questions as to whether
or not you could be fair and impartial in this case?”

Mrs. Branscom: “It doesn’t give me any questions. It’s the same as a person off the
street, so.”

Mrs. Branscom made a revealing admission. She firmly believes and declares that there is
a tangible difference between law enforcement and a person off the street. Mrs.
Branson’s manifested predisposition is indisputable. Egregiously and yet again, defense
counsel failed to acknowledge and adamantly demand that this imminent juror be
dismissed sua sponte. (TT pg 137).

The eighth juror to be seated and ultimately jury foreman was Mr. Schultz. The State
asked him “I noticed that you were related to or close friends with a law enforcement
officer.”

Mr. Schultz: “My Future Father-In-Law Works For The Sheriff’s Department.”

State: “Who’s that?”

Schultz replied: “Wayne Reynolds.”

State: “Do you have any concern that if - - if you were to render a verdict in favor of the
defendant here that he would not be your future father- in- law or any thing drastic like
that?”

Schultz replied: “No, I think we’re okay.”

This admission is outrageous. This Court, the State, and trial counsel clearly heard Mr.
Shultz admit that he had close family ties in local law enforcement, and yet, he was
seated and even more prejudicially elected jury foreman.

Defense counsel asked “Knowing your father in law the way you do, would you judge the
credibility of the officers who are going to testify in this case any differently than you
would any other person?”

Schultz responded: “I don’t think so.”

Defense: “So you don’t find police officers to be more credible then a lay witness?”
Schultz: “No.”

Defense: “You feel you could be fair and impartial in this case?”
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Schultz: “Yes.”

. At first Mr. Schultz was debating in his mind if he would give more weight to the

credibility of law enforcement then a lay witness. Defense counsel clearly should have
objected and had this juror excused. At the very least, this juror should have been
questioned more to develop his prejudices, especially since his future father-in-law was
in law enforcement. (T.T. pg, 120, 130-31).

The ninth juror to be seated was Ms. Hendricks. As the record clearly reflects, this juror
was not even voir dired, and as a consequence, there is no way to determine if she had
any bias. Trial counsel, the State, and the Court failed their fundamental duty of Voir
Dire in not asking any questions of this imminent juror. “Voir Dire” stands for to seek the
truth, but in this instance system failed to seat an adequately and legally voir dired jury
panelist.

The tenth juror to be seated was Ms. Hunt. Her only admission is that she is a teacher at
South ridge School and does not know prospective juror Ms. Hogan who was also a
teacher at South ridge School. As the record reflects, this juror was not adequately Voir
Dired. And, as a consequence, there is no way to determine if she had any bias. Trial
counsel, the State, and the Court failed their fundamental duty of Voir Dire in not asking
any questions of this imminent juror. “Voir Dire” stands for to seek the truth, but in this
instance and several others the system failed to seat an adequately voir dired jury
panelist.

(TT pg 60, 118)

The eleventh juror to be seated was Ms. Butler-Pacheco. The record is again insufficient
to tell if this juror had any bias or prejudice. The only thing known about this juror was
she was called to jury in an unrelated case but did not serve. As the record reflects, this
juror was not adequately Voir Dired. And, as a consequence, there is no way to determine
if she had any predisposition or bias.

The twelfth juror seated was Ms. May. The only information available is that she was
related

to an attorney. Again, the record is insufficient to determine her bias and prejudices. As
the record reflects, this juror was not adequately Voir Dired. And, as a consequence, there

is no way to determine if she had any bias.
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The thirteenth juror or alternate was Ms. Degattis. Again, the Voir Dire record contains
no testimony from this juror either. However, Ms. Degattis during the course of the trial
realized that one of the officers testifying in petitioner’s trial was involved in her life.
That she had personally witnessed this Casper police officer fabricate and use threats to
intimidate its citizens, and yet’ Ms. Degattis is not seated on the behalf of the defense, but
as an alternate juror. And the Court did not see problem with this juror since she was an
alternate and not involved in the deciding of the facts. Simply put, the jury was
prejudicially stacked to favor of law enforcement.

These alleged crimes are alleged to be against law enforcement and to seat jury members
whom were related or had any degree of relationship with law enforcement was
extremely prejudicial. Not to mention, an allegiance to the District Attorney’s Office and
law enforcement. Due process of law guarantees a criminal defendant the absolute right
to an impartial jury. Further more, the jury that was paneled for his trial should have been
appropriately questioned and allowed to express if they have formed any opinions about
petitioners guilt. Petitioner’s trial was not a “capital” trial but, he was facing life with
out the possibility of parole which is an unequivocal death sentence by incarceration.
Furthermore, the State asked during voir dire; “I want to go back to the topic of
methamphetamine for just a moment. I’ve been working on this case quite a bit, so I’m
not keeping up on the news. But it seems like I heard that there’s a methamphetamine
conference that was starting in Casper sometime soon, maybe even today. How many of
you believe that the methamphetamine problem as it’s described in Natrona County or in
our country is perhaps blown out of proportion by the media or by law enforcement
types? Anyone feel this it’s really an overdone issue? Okay.”

The Court interrupts this questioning and tells the state he is at his guideline for time and
he may have ten more minutes due to the number of hardship excusals. But not before the
State made sure the jury was aware of the methamphetamine conference that was being
held in Casper to address the prolific on going drug problem and the communities’ duty
to help fix the problem.

The State was not done influencing the jury with a duty to clean up the community, he
then states “J asked about controlled substances, but I’m going to ask it now about

firearms. Have any of you or any of your loved ones or close friends ever been involved
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with - - involved in or convicted of or charged with a felony offense involving a firearm?
Okay.”

Again, Mr. Charvat immediately raised his hand to voice his views, “My stepdaughter’s
ex-husband when they were still married threatened her with a firearm, and he was
arrested and charged, dealt with. And I don’t even know how it all came out, but on a
domestic violence issue. He had his firearm rights removed.”

This entire colloquy is prejudicial, the Court had an obligation to exclude Mr. Charvat for
cause. The defendant’s right to an impartial jury includes the right to an adequately voir
dire to identify unqualified jurors.

“The right to trial by an impartial jury is a fundamental concept of due process. In
essence, the right to jury trial guarantees to the criminally accused a fair trial by a panel
of impartial, indifferent jurors. A fair trial in a fair tribunal is a basic requirement of due
process. In the ultimate analysis, only the jury can strip a man of his liberty or his life. A
juror must be as indifferent as he stands unsworn. His verdict must be based upon the
evidence developed at trial.’ See Burton v. Johnson, 948 F.2d 1150, (10" cir 1991),
Sallahdin v. Gibson, 275 F.3d 1211, (10th Cir. 2002).

This Court, the State and the public defender failed their fundamental duty of voir dire in
not asking all of the potential jurors’ questions and discovering their prejudices. “Voir
Dire” stands for to seek the truth, but in petitioner’s instance the system failed to seat an
impartial jury. Furthermore, this Court abused its discretion by failing to reject
predisposed and biased jurors.

Trial counsel was ineffective for failing to properly use defense challenges and appellate
counsel was ineffective for failing to raise these issues on direct appeal. Petitioners Trial
and Appellate counsel are ineffective for failing to raise this in trial and direct appeal all
in violation of the Wyoming constitution and the United States Constitution. Appellant
Counsels failure to raise this issue rendered her ineffective in violation of the fourth and
fifth and sixth and fourteenth amendments of the United States Constitution, and Art. 1§
10 of the Wyoming Constitution. Miller v. State, 904 P.2d 344, 352(Wyo. 1995), Harlow
v. Murphy, 05-CV-039-B (D. Wyo. 2008), and Rosales-Lopez v. United States, 451 U.S.
182, 101 S. Ct. 1629, (1981). Therefore, Petitioner’s convictions should be reversed and

remanded or a new trial.
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#9 Appellate counsel failed to raise the Brady/discovery violations by the State. Trial
counsel failed to demand that the State surrender the Crime Lab Report of the

testing performed on the gun.

1. The suppression by the prosecution of evidence favorable to an accused upon request
violates due process where the evidence is material either to guilt or to punishment,
irrespective of the good faith or bad faith of the prosecution. Evidence is "material"
within the meaning of Brady only if there is a reasonable probability that, had the
evidence been disclosed to the defense, the result of the proceeding would have been
different. Impeachment evidence as well as exculpatory evidence falls within the
Brady rule. Smith v. Sec'y of Corr., 50 F.3d 801, 824 (10th Cir. 1995). Seivewright v.
State, 7 P.3d 24, (Wyo 2000). Harlow v. Murphy, 05-CV-039-B (D. Wyo 2008)

2. Special agent Tina Trimble testified prior to trial that she instructed the state to send the
gun to the State crime lab for forensic testing. However, petitioner has been denied the
results of such testing. Evidently, petitioner’s fingerprints or so called inculpatory
forensic signature was not present on the gun and more specifically not present on the
alleged hair trigger. When special agent Trimble was questioned at trial about the testing
results she had performed on the gun, she evasively replied, “I don’t recall.” Special
Agent Trimble knew the answer to that question would completely discredit the States
case, so she committed blatant perjury to secure petitioner’s conviction.

3. Officer Wenberg testified he brushed a hard object out of petitioner’s left hand. However,
if the gun was forced out of petitioners hand there would be indelible evidence left on the
gun. In fact, had the state found any inculpatory fingerprints on the gun then certainly the
jury would have been duly informed. Officer Wenberg, the {alleged} victim testified he
did not see a gun. Additionally, Officer Maton, Officer Wetzel, and Officer Reinhart
testified that they did not see petitioner produce a gun. The driver of the vehicle, Mr.
Virgillio, was prepared to testify that he did not see a gun, but he refused to testify for
fear of prosecution.

4, Notably, in the State’s opening statement, Mr. Marken clearly stated that the “gun fails
out of petitioner’s hand where it comes to rest”. (TT 189) Sgt. Mark Trimble is the only
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witness that testified to observing the gun in Petitioner’s Non-Dominant Left Hand and
yet, he irrefutably failed to react to the frenzied and immediate danger. Obviously, Sgt.
Trimble never felt threatened and never perceived Officer Wenberg was in any danger of
being harmed. Interestingly, Officer Wenberg testified at the preliminary hearing that Sgt.
Trimble was not even present at the scene when petitioner was arrested. Regardless of the
documented testimony, Sgt Trimble still failed the secure the weapon and indisputably
leaves it within the reach of a known felon, Mr. Virgillio. Evidently Sgt. Trimble
committed perjury, and did so to help further his wife’s, (Special Agent Tina Trimble’s)
tenuous and new career with DCI. The validity of Sgt. Trimble’s version of the events
can easily be resolved by the forensic results. The failure to call witnesses to testify in
petitioner’s behalf is in violation of, King v. State, 810 P.2d 119, (Wyo 1991). (Prelim
March 14", 2006, Docket No. CR-2006-0570, pg.8)

. The state violated discovery by not disclosing to defense the forensic test results.
Moreover, this exculpatory and impeachment evidence is relevant and crucial to
petitioner’s innocence. No fingerprints obviously demands no manifest intent to harm
anyone, much less Officer Wenberg. The state has an obligation to turn over all discovery
and not suppress the exculpatory crime lab results. Appellate counsel’s failure to raise
this on direct appeal is ineffective counsel. Trial counsel’s failure to object to the state’s
non-disclosure of the test results is ineffective assistance of counsel.

. Also, the failure to have independent testing performed is ineffective counsel. This
discovery violation is prosecutorial misconduct. State v. Naple, 2006 WY 125,
Seivewright v. State, 7 P.3d 24, (Wyo. 2000) Smith v. Sec'y of N.M. Dep't of Corr., 50
F.3d 801, 824 (10th Cir 1995) Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194,(1963).

. Petitioners Trial and Appellate counsel are ineffective for failing to raise this at trial and
on direct appeal. This is a direct violation of the Brady mandate, Wyoming Constitution
and the United States Constitution. Appellant Counsel’s failure to raise this issue
rendered her ineffective assistance of counsel in violation of the fourth and fifth and sixth
and fourteenth amendment of the United State Constitution and Art. 1§4, 6,9,10, of the
Wyoming Constitution. Therefore, Petitioner’s convictions should be reversed and

remanded for a new trial.
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#10 Appellate counsel is ineffective for failing to raise the unconstitutional search and
seizure of evidence used to convict. Trial counsel is ineffective for failing to have

evidence excluded due to the illegal search of 1434 South Melrose residence.

1. Darwin Haselhuhn was arrested for possession of methamphetamine on March 2, 2006.
This arrest was after officers observed Mr. Haselhuhn leaving his Melrose residence.
Agent Trimble asked Mr. Haselhuhn for permission to enter and search his home. Mr.
Haselhuhn affirmatively said “No.” Disregarding Mr. Haselhuhn’s denial of access,
Agent Trimble entered the house devoid of consent and illegally seized evidence that was
utilized in petitioner’s trial.

2. Ms. Trimble testified that she called the home owner Mr. Allen Aipperspach. Mr.
Aipperspach also refused her actual entry into the home and any adjoining structures, but,
he did consent that Ms. Trimble, could look on the outside of his properties. Mr.
Aipperspach testified that Ms. Trimble asked him about the weapons that were located
inside the home. Furthermore, Officer Wetzel testified that he never seen the guns inside
the home when the search warrant was executed. Unequivocally, showing that the guns
were already seized prior to the execution of the fabricated search warrant.

3. “Suppression remains an appropriate remedy if the judge issuing a warrant was misled
by information in a affidavit that the affiant knew was false or would have known except
for his reckless disregard for the truth...” See Leon, 104 S.Ct. 3413.

Neither the federal nor the state constitution forbids all searches and seizures; rather,
they prohibit unreasonable searches and seizures. Guerra v. State, 897 P.2d 447, 452
(Wyo. 1995). Warrantless {43 P.3d 103} searches and seizures are unreasonable per se,
with but a few exceptions. Gehnert v. State, 956 P.2d 359, 362 (Wyo. 1998); Morris v.
State, 908 P.2d 931, 935 (Wyo. 1995).

"No Warrants shall issue, but upon probable cause, supported by Oath or affirmation”
This Fourth Amendment protection would be "reduced to a nullity if a police officer was
able to use deliberately falsified allegations to demonstrate probable cause, and, having
misled the magistrate, then was able to remain confident that the ploy was worthwhile."
Franks v. Delaware, 438 U.S. 154, 168, 98 S. Ct. 2674, 2682, 57 L. Ed. 2d 667 (1978)
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A district court must suppress the evidence obtained during the execution of a search
warrant "to the same extent as if probable cause was lacking on the face of the affidavit"
if the testimony at a Franks hearing persuades the court that two conditions are met. 438
U.S. at 156, 98S. Ct. at 2676. First, "the allegation of perjury or reckless disregard [for
the truth] is established by the defendant by a preponderance of the evidence."
Id. Second, "with the affidavit's false material set to one side, the affidavit's remaining
content is insufficient to establish probable cause."

4. There is only one conceivable way that Agent Trimble could have known about the guns
and that was to enter the house illegally and seize them without probable cause or a
warrant. Agent Trimble obviously provided the court with false information to obtain the
warrant for the Melrose home. Agent Trimble committed perjury to obtain the warrant
and as a consequence should have been impeached.

5. The facts notwithstanding, the public defender, Ms Collier did not file a motion to
suppress (pursuant to Rule 12 WRCP) upon the finding of the information that Ms
Trimble committed perjury to obtain the warrant. Trial counsel should have immediately
motioned the court to suppress the illegally obtained evidence. Ms. Trimble committed
perjury in her affidavit that the home owner gave her permission to enter and therefore
the fruit of the poisonous tree doctrine must apply. See Dickeson v State, 843 P.2d 606
(Wyo 1992)

6. Agent Trimble committed perjury and the State suborned perjury. Plus, a Franks hearing
is required to exclude the evidence obtained by police illegally. Appellate and trial
counsel are ineffective for failing to raise and advocate this issue in violation of the
Fourth, Fifth, Sixth and Fourteenth Amendments of the United States Constitution and
Art. 1§4, 6,9,10 of the Wyoming Constitution. Therefore, Petitioner’s convictions should

be reversed and remanded for a new trial

#11 Trial counsel tried but was unsuccessful at impeaching Ms. Trimble based on
fabrication in her testimony. Appellate counsel failed to raise this prosecutorial

misconduct and ineffective Trial counsel on direct appeal.
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1. The State committed prosecutorial misconduct by suborning perjury in allowing state
officers to commit perjury. In support states the following: Agent Trimble testified in the
Partial Motion Hearing held on Oct. 4", 2006, that petitioner and his family had moved
out of the Melrose residence before March 2", 2006. She further testified that Mr.
Haselhuhn and his family had moved in by March 2" 2006. However, under oath, and
before the jury, Agent Trimble fabricated and changed her testimony to intentionally
mislead the jury that petitioner had in fact lived in the Melrose home on March 2", 2006.
Agent Trimble committed perjury. Moreover, she had no documented evidence to
support her testimony. (P.M.H., pg. 44) (TT, 374-75)

2. Agent Trimble further testified that on March 2"! she entered the Melrose home with the
permission of the home owner Mr. Aipperspach; however Mr. Aipperspach testified that
he never gave Agent Trimble permission to enter the home. Nevertheless, she illegally
entered the home and seized two guns, scales, paraphernalia, and utilized them in
petitioner’s trial. (T.T. 816-17)

3. The items Agent Trimble observed during the illegal search were a black duffle bag, and
a large green Tupperware tote box. These specific items were later found in a black
Camaro belonging to Mr. Wheeler, (Whom officers never locate or question). Ms.
Trimble testified that these items belonged to petitioner. She based this on erroneous
speculation that she observed them at the Melrose residence, where petitioner once lived,
weeks prior. By her own testimony, in all earlier proceedings, petitioner did not reside at
the Melrose residence on this day, or weeks prior to the illegal search.

4. When Agent Trimble testified to the jury that petitioner was living in the Melrose house
on March 2"4, when she illegally entered it. She implied that the specific items that she
had seen in the home were the same items that were later found in the black Camaro, and
that they belonged to petitioner, and not the passenger of the Camaro and actual owner,
Mr. Haselhuhn. Mr. Haselhuhn told Agent Trimble and involved officers that (he) was
living in the Melrose house, but not petitioner. Testimony shows Mr. Haselhuhn was
arrested for possession of Methamphetamine on March 2", 2006, and had syringes in his
truck. Testimony also shows that the police found syringes in the Melrose home. Mr.

Haselhuhn’s insurance card to his truck was found in the home next to the computer. Mr.
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Haselhuhn was the passenger of the black Camaro on March 3", 2006. Agent Trimble
had petitioner in her sights and was willing to commit perjury to get a conviction.

5. Agent Trimble fabricated her testimony to show petitioner was living in the Melrose
house and therefore, connected the implied ownership to petitioner of the items found in
the black Camaro, and from the Melrose home. Agent Trimble committed perjury to
convict petitioner charges that stemmed from the search of Mr. Wheeler’s Camaro, and
the seizure of Mr. Haselhuhn’s belongings. The prejudice is clear, Ms. Trimble
committed perjury and must be impeached and held accountable.

6. During opening statements the State committed prosecutorial misconduct by clearly
misstating evidence several times. The State in his opening statement claimed the
surveillance on the Melrose home was on March 1* and 2" however, March 2™ was the
only day of surveillance and on that day (the 2™) officers seen a white pickup truck
leaving those premises, and that Mr. Haselhuhn was driving. This was true, however he
went on to state that “Mr. Haselhuhn was arrested at that point for unrelated issues
relative to his vehicle.” This was perjury. Mr. Haselhuhn was arrested for possession of
methamphetamine. The State knew this, but chose to mislead the jury. Furthermore, Mr.
Haselhuhn has been convicted in the past for aggravated robbery (Haselhuhn v. State,
727 P.2d 280,), and other federal crimes that petitioner is personally aware of. Petitioner
believes there are also federal controlled substance conviction and several federal
probation violations due to methamphetamine use. (Mr. Haselhuhn has an extensive
criminal history.) The jury should have been informed of all relevant factors, not the one
sided version the State gave them.

7, Appellate and trial counsel are ineffective for failing to raise this in trial and direct appeal
in violation of the Wyoming constitution and the United States Constitution. Appellant
Counsels failure to raise this issue is ineffective in violation of the Fourth, Fifth, Sixth,
and Fourteenth Amendments and Art. 1§4, 6,9,10 of the Wyoming Constitution.

Therefore, Petitioner’s convictions should be reversed and remanded for a new trial.

#12 Appellate counsel and trial counsel failed to investigate and offer the exculpatory

testimony of Luther Myers.
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On the day in question, the police
confiscated the black Camaro. Inside they found a duffel bag that contained Mr. Luther
Myers’s California Drivers License and the methamphetamine utilized to convict
petitioner of drug charges. However, if trial counsel would have subpoenaed Mr. Myers
to trial he would have testified that he witnessed Mr. Darwin Haselhuhn personally place
the duffel bag into the black Camaro or at least asked how his Drivers License turned up
in the duffel bag. More importantly, Mr. Myers and Mr. Haselhuhn both had criminal
records, and yet, Agent Tina Trimble never bothered to question either one, but only
charged petitioner with possession and possession with intent, even though Mr.
Haselhuhn was the passenger in the Camaro. Mr. Myers would have also testified that
Mr. Haselhuhn was known to use and carry methamphetamine, they were best of friends
and that they lived together prior to Mr. Haselhuhn moving into the Melrose house in late
January, early February when petitioner and his family had moved out. Mr. Myers could
have testified that Mr. Haselhuhn had a violent criminal past. And that he had seen Mr.
Haselhuhn with the fragmentation vest. Defense counsel's failure to effect service of
process on an eye witness, or in the alternative, to request a continuance until that eye

witness could be compelled to testify, is per se ineffective assistance of counsel.

See King v State, 810 P.2d 119, (Wyo
1991).
. Mr. Myers could have easily made the connection for the jury that the belongings and the
methamphetamine found in the Camaro actually belonged to the passenger, Mr.
Haselhuhn. There are numerous actors involved in actual culpability, because petitioner
was not alone in the Camaro. However, the State adamantly presented that scenario to the
jury. Nevertheless, Petitioner implored Trial Counsel to locate Mr. Myers to explain all
this to the jury - but trial counsel never locates and investigates this exculpatory
testimony. The Brady evidence is very clear. See Smith v. Sec'y of N.M. Dep't of Corr.,
50 F.3d 801, 824 (10th Cir. 1995), and Seivewright v. State, 7 P.3d 24, (Wyo 2000).
. Appellate and trial counsel for failing to investigate and raise this in trial and direct
appeal in violation of the Wyoming Constitution and the United States Constitution.

Appellant Counsel’s _ failure to raise this issue rendered her ineffective in violation of
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the Fourth, Fifth, Sixth, and Fourteenth Amendments and Art. 1§4, 6,9,10 of the
Wyoming Constitution. Therefore, Petitioner’s convictions should be reversed and

mandated for a new trial.

#13 Trial Counsel and Appellate counsel were ineffective for failing to object to, and

1.

raise on appeal Special Agent Trimble’s prejudicial involvement and influence in

Petitioner’s trial.

Agent Trimble was allowed to participate in the Voir Dire process. Agent Trimble sat at
the prosecution’s table and directly influenced the State’s decision in which jurors were
best suited for their case. Agent Trimble does not have a law degree and is not a state
prosecutor. Sitting at the State’s table bolstered her credibility as a witness and is
extremely prejudicial. Ms. Trimble should have been sequestered from the courtroom and
only allowed to testify in her capacity as a State’s witness. Furthermore, Agent Trimble
was allowed to hear testimony from other witness’s and then accordingly adjust her
injurious testimony. The prejudice is flagrant, repugnant and obvious.

Agent Trimble’s testimony in all hearings prior to trial was that when Agent Norcross
reached into the black Camaro his entire torso was trapped inside the driver’s window as
petitioner drove away and that petitioner tried to trap agent Norcross between two cars.
However, this was wholly fabricated. Agent Norcross testified that he reached into the
vehicle up to his shoulders and moved out of the way. Agent Trimble’s testimony
dramatically changed after she heard Agent Norcross testify. She clearly altered her
testimony to “I believed that at that time.”

If, Agent Trimble was not allowed to hear Agent Norcross testify, petitioner would have
clearly shown the jury that the lead investigator had an ability to fabricate testimony and
committed perjury to win her case at all cost. Plus, petitioner would have been able to
impeach her testimony, numerous times. Evidently trial counsel meekly attempted to
impeach Ms. Trimble, but she was inexperienced and woefully unprepared. If trial
counsel could have shown the jury Ms. Trimble’s ability to fabricate and willingness to
misstate the facts to obtain an unconstitutional conviction, there is a reasonable

probability that the verdict would have been in petitioners favor. This is prosecutorial
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misconduct to allow state representatives to mislead, suborn perjury and deny
constitutional guarantees.

4. Appellate and trial counsel are ineffective for failing to raise this in trial and direct appeal
in violation of the Wyoming Constitution and the United States Constitution. Appellant
Counsel’s failure to raise this issue rendered is ineffective in violation of the Fourth,
Fifth, Sixth and Fourteenth Amendment and Art. 1§4, 6,9,10 of the Wyoming
Constitution. Therefore, Petitioner’s convictions should be reversed and remanded for a

new trial.

#14 Trial counsel failed to object to the “expert witness” testimony from Ms. Susan
Cerullo, and appellate counsel failed to raise this on direct appeal, is ineffective

counsel.

1. The State submitted illegally obtained evidence of conversations in the form of
“snippets”. Ms. Cerullo testified as an expert witness, that it is impossible to edit, modify,
or alter calls that were recorded by the jails IT phone system. She also admits the system
itself states “Date Modified” if any change to a account has been made. “Modified” is
just that “Modified”. (TT, 232-235).

2. Ms. Cerullo is not an expert concerning the IT telephone system. A few hours of classes
does not qualify as an expert. Ms. Cerullo’s testimony claiming that the phone calls
cannot be changed, altered, or modified, is perjury. The State altered the calls by using
“snippets”. Ms. Cerullo admitted that the call can be copied in whole or just a portion of a
call, which alters the context of a conversation. Mrs. Cerullo’s expert testimony is in
direct violation of Daubert v. Merrell Dow , 509 U.S. 579, 113 S.Ct. (1993), and Kumho
Tire v. Carmichael, 526 U.S. 137,119 S.Ct. 1167 (1999).

3. More importantly, Ms. Cerullo admitted that once the calls are copied to another disk
they can then be changed or altered, plus she failed to maintain a chain of evidence and as
result, the discs were not accounted for. (TT pg 234)

4. Nevertheless, trial counsel failed to object to this alleged expert testimony and is

ineffective assistance of counsel, and appellate counsel’s failure to raise this on direct
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appeal is ineffective assistance of counsel. An evidentiary hearing, and a legally voir
dired expert witness is necessary to show the obvious perjury.

5. The state elicited false testimony and perjury from Ms. Cerullo. Petitioners Trial and
Appellate counsel are ineffective for failing to raise this in trial and direct appeal all in
violation of the Wyoming constitution and the US constitution. Appellant Counsels
failure to raise this issue rendered her ineffective in violation of the fourth and fifth and
sixth and fourteenth amendments of the US Constitution, and Art. 1§4, 6,9,10 of the
Wyoming Constitution.

#15 Appellate counsel and trial counsel was ineffective for failing to object to the State
committing prosecutorial misconduct by inflaming the jury with the term “Bullet

Proof Vest,” opposed to the factual term of a “Fragmentation Jacket.”

1. The Prosecution committed prosecutorial misconduct by repeatedly misstating evidence
admitted in trial. The prosecution repeatedly referred to a fragmentation jacket as a bullet
proof vest. A “bullet proof vest” is capable of resisting the impact of a bullet. But a
“fragmentation jacket” only provides protection from shrapnel, or larger projectiles. The
flak jacket will only deflect fragments or projectiles. The state did admit at a bench
conference that the vest was a “flak jacket” (TT, 804)

2. Moreover, the “Flack Jacket” never belonged to petitioner and had the state tested the
vest there would have been nothing that would have linked it to petitioner. This vest was
found in Mr. Wheeler’s Camaro, a friend of Mr. Haselhuhn’s. Furthermore, Mr.
Haselhuhn was the passenger of the Camaro and his personal belongings were found
inside the vehicle. The state testified that petitioner was taking Mr. Haselhuhn out to his
truck at E&F Wrecking Service to obtain his vehicle, where Mr. Haselhuhn had the rest
of his belongings. Mr. Haselhuhn has an extensive criminal history including but not
limited to aggravated robbery. The jury should have been informed and made fully aware
of these relevant facts.

3. Prosecution took advantage of the irrelevant prejudicial inference that criminals get these
Bullet Proof Vests to protect themselves from police. For the state to make this

unsupported inference that 1) That Petitioner is a criminal, 2) That the vest was actually
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his, 3) That the only reason anyone, including petitioner, would have this jacket is to
protect himself from the police, is ridiculous and extremely prejudicial. There is not any
reliable evidence to support this fragmentation vest was even petitioners. The Prosecution
stated the prejudicial unsupported inference that petitioner was ready to attack the police
and go to war with any policeman that got in petitioner’s way, (because Petitioner “was a
desperate man, in desperate times”), due to the finding of the vest in a car that was not
even petitioners, with belongings that were not his. If this irrational inference the state
alleged was true, petitioner would have been at least wearing the vest. Plus the fact,
petitioner would have had a weapon ready upon the officer approaching the vehicle, and
he would have got into the gun fight that the state alleges was imminent. The inference
that petitioner was ready to go to war with law enforcement is unsupported, outrageous,
and extremely prejudicial

. In the State’s closing argument, the state told the jury that his drama teacher “John
Walsh” always said you don’t bring a gun on the stage unless you intend to use it. The
state used the “drama” of a violent cop show “America’s Most Wanted” to prejudice the
jury. Everyone knows the extremely dangerous people that “America’s Most Wanted”
puts on TV. This television reference is prosecutorial misconduct. The prosecution
further stated only a dangerous man would have such a dangerous weapon. Put the three
unsupported inferences of the bullet proof vest, the extremely desperate dangerous man,
and the deadly gun there was only one conclusion the jury could return, that was the
illegal conviction now before this Court. This prosecutorial misconduct is in violation of
Dysthe v State, 2003 WY 20.

. Furthermore, petitioner does not have any history of violence or aggression. There is no
family violence, no simple assaults, no felony assaults, and has never hurt anyone in his
life. He has nothing in his history that would indicate that he is capable of physically
harming another human being.

. The prejudice petitioner suffered is clear. The state committed prosecutorial misconduct
and trial counsel failed to object and offer expert testimony, and appellate counsel failed
to raise this issue on direct appeal, all in violation of the rights guaranteed by the United

States Constitution and the Wyoming Constitution.
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#16 Trial counsel failed to object to the alleged gun expert and extremely prejudicial
firearm testimony which inflamed the jury. The failure to object to the repeated
prejudicial testimony was ineffective assistance of counsel, appellate counsel failed
to raise this issue on direct appeal. The State committed prosecutorial misconduct

by this statement.

1. When the prosecutor asserts his credibility or personal belief, an ‘additional factor is
injected into the case. This additional factor is that counsel may be perceived by the jury
as an authority whose opinion carries greater weight than their own opinion: that
members of the jury might be persuaded not by the evidence, but rather by a perception
that counsel's opinions are correct because of his position as prosecutor, an important
state official entrusted with enforcing the criminal laws of a sovereign state. While the
prosecutor is expected to be an advocate, he may not exploit his position to induce a jury
to disregard the evidence or misapply the law. Barela v. State, 787 P.2d 82, 83-84 (Wyo.
1990). Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d
469 (1993), and Kumho Tire v. Carmichael, 526 U.S. 137,119 S.Ct. 1167 (1999).

2. More egregious is the fact the State introduced Officer Wetzel as an alleged gun expert
witness in violation of Daubert and Kumho Tire, Id. This witness was never voir dired to
determine the actual extent of his expertise. He was allowed to testify unchecked by the
defense as an expert. Officer Wetzel was allowed brandish the gun and manipulate the
weapon in front of the jury to show how easily the weapon fired. Explaining to the jury
how deadly and dangerous this particular weapon was.

3. Trial counsel failed to object to this inflammatory testimony and the manipulation of the
weapon, no shots were fired therefore the rest was irrelevant and appellate counsel failed
to raise this on direct appeal.

4. Appellate counsel and trial counsel are ineffective in violation of the United States
Constitution and the Wyoming Constitution and consequently petitioners’ convictions

should be reversed and remanded for a new trial.
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#17 Appellate counsel is ineffective for failing to raise the eighth amendment violation
of cruel and unusual punishment for the charging and conviction of the attempted

first degree murder and aggravated assault of Officer Wenberg.

1. The State committed a manifestly unjust act when it amended its original charging
information to include the charges under Wyoming Statutes § 6-2-101(a) First-degree
Murder and § 6-1-301(a)(i) which states:

“6-1-301. Attempt; renunciation of criminal intention.
(a) A person is guilty of an attempt to commit a crime if:

(i) With the intent to commit the crime, he does any act which is a substantial
step towards commission of the crime. A substantial step is conduct which is strongly
corroborative of the firmness of the person's intention to complete the commission of the
crime.” Id. (Emphasis added and original.)

2. This amended information was not based upon any definable act at the time of the
commission of the crime which would have conclusively demonstrated the necessary
mens rea to commit the acts charged in the new, amended information. Had there been
sufficient indicia of this intent, it would certainly have followed as a matter of law and
common sense that Petitioner would have been charged with these offenses in the
original information based upon the observation of those in the best position to determine
the “intent” of the Petitioner.

3. Had the Petitioner taken a “substantial step” at the time of the offense to commit the act
of First-degree Murder, the officers, trained in the science and observation of criminal
activity, would have noticed this “substantial step” and Petitioner would have been
charged accordingly based upon the officers statements at that time when the events were
fresh in their minds. If, that is, the Petitioner had not been shot for taking such a
substantial step.

4. To charge Petitioner with an amended information, based upon contradictory statements
issued through a false sense of bravado on behalf of the Petitioner while trying to impress
a person over the phone and with such a lack of corroborative evidence at the time of the
offenses to warrant such severe charges in the original indictment is violative of the

Petitioner’s Constitutional rights under the Fifth, Eighth, Fourteenth Amendment of the
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United States Constitution and those of the Wyoming State Constitution, and as a

consequence, Petitioner’s convictions should be reversed and remanded for a new trial.

#18 Appellate counsel failed to raise the cumulative error effect. Because of the

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numerous errors made to obtain the unconstitutional conviction.

Each of the errors discussed above was of sufficient magnitude to warrant reversal. The
cumulative effect of these errors was to taint the proceedings beyond redemption.
However, even if these had not warranted reversal standing alone, their cumulative effect
is such that reversal is necessary in order to secure petitioner’s right to a fair trial.

Under the doctrine of cumulative error, a sequence of incidents, each in itself insufficient
to warrant reversal, may assemble in such a way as to deprive a defendant of a fair trial.
When this happens, reversal is required. Schmunk v. State, 714 P.2d 724, 726 (Wyo.
1986). The record is clear, petitioner has met his burden of proving that several
unequivocal rules of law were breached which denied petitioner his right to a fair trial.
Therefore, petitioner respectfully requests that this Court reverse his convictions and

remand for a new trial.

In Conclusion:

1, Petitioner’s trial was seriously flawed due to the above Constitutional violations. The State

committed perjury on numerous occasions to illegally convict and confine petitioner. The
State used chemically imbalanced and psychologically impaired communications that
were expected to be private between wife, family, and himself. The State suppressed
valuable Brady material and discovery, misstated numerous facts-all in a successful
parade to mislead the jury and obtain this illegal conviction. The Court appointed Ms.
Collier, the public defender whom failed her duty to investigate, advocate, and provide
the very fundamental duties of a defense attorney. Petitioner’s innocence is rather simple
and obvious, even the State agreed at the time of arrest, due to the charging of no violent
crimes. However, the State seen an opportunity to misuse the 404(b) evidence in this case

and presented to the jury whom was made up of mostly friends and family of local and
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state law enforcement. Petitioner did not receive a fair trial. Petitioner did not receive
effective assistance of trial counsel. Petitioner did not receive effective assistance of
appellate counsel and trial counsel. Therefore, petitioner must respectfully request this
Court to reverse his illegal convictions and grant appropriate relief.

. Appellate counsel is ineffective assistance of counsel. If job related deficiencies were the
reason, for her termination then the record should reflect that Ms. Domonkos was unable
to fulfill her role as appellate counsel. The fact that the State Public Defender did not find
her fit to do her job and fired her must be part of the record. Appellate counsel’s
deliberate indifference to draft a meaningful and meritorious appeal provides patent
ineffective assistance of counsel.

. Additionally, trial counsel was ineffective assistance of counsel based on her numerous
pretrial and trial errors; The public defender, Ms. Collier, failed to file a motion in limine,
failed to object to the State’s weapon expert, failed to object to the State’s IT Telephone
System Expert, failed to demand the missing discovery, failed to properly voir dire
potential jurors, failed to have the gun forensically tested, failed to investigate
exculpatory witnesses, failed to investigate inconsistent State witnesses and subsequently
impeach them, egregiously fail to notice and investigate petitioner’s present and ongoing
psychological status, and specifically the erratic and aggressive behavior exhibited over
the phone and while incarcerated in the Natrona County Detention Center.

. An evidentiary hearing is required to fully develop a documented record of ineffective
assistance of appellate counsel and trial counsel to support the Petition for Post-
Conviction Relief. Petitioner acknowledges all facts and information contained in this
brief are true and correct to the best of his knowledge. Any documents not included in
this brief are due to petitioner’s inability to obtain them and completely argue them due
to his incarceration. Petitioner has asked this Court for assistance of counsel on numerous
occasions to prevent any further violations of his rights, but has been unsuccessful.
Again, Petitioner has ongoing psychological issues, no training in the law, no legal aid or

advocate, but duly submits this Amended Petition for Post-Conviction Relief.

. Please refer to amended Petition for Post-Conviction Relief and all exhibits cited in this

brief. Petitioner is indigent and unable to afford the cost of copies.
WHEREFORE, Petitioner prays that this Court:
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1. Grant this Motion for Habeas Corpus Relief, direct that Petitioner’s
conviction be vacated and that Petitioner be discharged from his
unconstitutional confinement; or in the alternative,

2. Grant petitioner an evidentiary hearing;

Grant Petitioner such other and further relief as may be deemed just and
proper.

3. Grant the assistance of counsel to prevent any further violations of

constitutional magnitude.

4. Petitioner has tried to give the States highest Court full opportunity to
fix and address the errors made by both the District Court and the State
Supreme Court.

5. Petitioner now prays this Court will fix this illegal conviction and

remand for a new trial.

ed
Dated this 23" day of Spl her ,2013.

 

Zacharia C Cohen, pro se 24465

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On this ye day of Se phen ser , 2013.
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